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10                               UNITED STATES DISTRICT COURT

11                             CENTRAL DISTRICT OF CALIFORNIA

12
13    AFMS, LLC,                                 ) CASE NO. CV 10-05830 MMM (AJWx)
                                                 )
14                       Plaintiff,              )
                                                 ) ORDER GRANTING DEFENDANTS’
15                 vs.                           ) MOTIONS TO DISMISS
                                                 )
16    UNITED PARCEL SERVICE CO.;                 )
      FEDEX CO.,                                 )
17                                               )
                         Defendants.             )
18                                               )
19
20         On August 5, 2010, plaintiff AFMS, LLC filed this action against United Parcel Service

21   Co. (“UPS”) and FedEx Co. (“FedEx”).1 AFMS filed a first amended complaint on October 14,

22   2010.2 The amended complaint states two claims: (1) violation of § 1 of the Sherman Act, 15

23   U.S.C. § 1, and (2) violation of § 2 of the Sherman Act, 15 U.S.C. § 2.3 AFMS seeks actual

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           1
26          Complaint, Docket No. 1 (Aug. 5, 2010).
           2
27          First Amended Complaint (“FAC”), Docket No. 31 (Oct. 14, 2010).
           3
28          Id., ¶¶ 17-25.
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 1   damages, treble damages, attorneys’ fees, and costs of suit.4
 2          On November 1, 2010, defendants filed separate motions to dismiss AFMS’s first amended
 3   complaint under Rule 12(b)(6) of the Federal Rules of Civil Procedure.5 On May 27, 2011, after
 4   a hearing, the court granted defendants’ motions in part and denied them in part. It also afforded
 5   AFMS leave to file a second amended complaint.6 AFMS did so on June 24, 2011.7 On July 5,
 6   2011, defendants UPS and FedEx filed separate motions to dismiss,8 which AFMS opposed in an
 7   omnibus pleading.9
 8
 9                                   I. FACTUAL BACKGROUND
10          A.        Allegations in the Complaint
11          AFMS is the industry leader in providing small parcel and freight consulting services.10
12   Its consultants – called managing directors – assist shippers in negotiating competitive small parcel
13   and freight contracts.11     Prior to the events alleged in the complaint, AFMS generated
14
15          4
             Id. at 10.
16          5
             Motion to Dismiss Case filed by defendant United Parcel Service Co., Docket No. 40
17   (Nov. 1, 2010); Motion to Dismiss Case filed by defendant FedEx Co., Docket No. 41 (Nov. 1,
     2010). See also Reply in Support of Motion to Dismiss Case filed by defendant United Parcel
18   Service Co., Docket No. 48 (Dec. 20, 2010); Reply in Support of Motion to Dismiss Case filed
     by defendant FedEx Co.. Docket No. 49 (Dec. 20, 2010).
19
            6
20          Order Granting in Part, Denying in Part Defendants’ Motion to Dismiss (“FAC Order”),
     Docket No. 55 (May 27, 2011).
21
            7
             Second Amended Complaint (“SAC”), Docket No. 56 (Jun. 24, 2011).
22
            8
23          Motion to Dismiss Second Amended Complaint by United Parcel Service Co. (“UPS
     MTD”), Docket No. 58 (Jul. 5, 2011); Motion to Dismiss Second Amended Complaint by
24   Defendant FedEx Corporation (“FedEx MTD”), Docket No. 59 (Jul. 5, 2011).
25          9
            Memorandum in Opposition to Motion to Dismiss Second Amended Complaint (“Opp.”),
26   Docket No. 67 (Aug. 24, 2011).
            10
27              SAC, ¶ 3.

28          11
                Id.
                                                      2
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 1   approximately fifty percent of its consulting revenue in Southern California, through relationships
 2   with large shipping clients such as Sony, Toyota, Honda, Quiksilver, Guess, Applied
 3   Bio-Systems, and St. John Knits.12
 4          UPS is the world’s largest package delivery company, delivering more than fifteen million
 5   packages a day to more than six million customers in over two hundred countries.13 FedEx is the
 6   world’s second largest package delivery and express shipping company.14 Both UPS and FedEx
 7   are engaged in the delivery, by ground and air, of time-sensitive letters, documents and
 8   packages.15 In fact, UPS and FedEx have emerged in recent years as the only two commercial
 9   entities engaged in the business of delivering time sensitive letters, documents, and packages on
10   a national and international basis.16 They are in direct and substantial competition with one
11   another.17 The United States Postal Service delivers letters, documents, and packages; however,
12   its service offerings are not time sensitive or guaranteed and most shippers do not consider U.S.
13   mail a reasonable substitute for, nor interchangeable with, UPS or FedEx.18 For this reason,
14   AFMS alleges that the USPS does not operate as a serious competitive constraint on either UPS
15   or FedEx.19 At one time, DHL was a significant competitor of UPS and FedEx; AFMS alleges,
16   however, that it has been forced to curtail its activity in the United States, and provides shipping
17   and time sensitive delivery services only to and from foreign countries.20
18
            12
19           Id.
20          13
             Id., ¶ 4.
21          14
             Id., ¶ 5.
22          15
             Id., ¶ 8.
23
            16
             Id.
24
            17
             Id.
25
            18
26           Id.
            19
27           Id.

28          20
             Id.
                                                      3
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 1          In 2009, FedEx had a larger market share of air shipments of time sensitive letters,
 2   documents, and packages than UPS.21 UPS had the largest share of the ground shipment market.22
 3   The companies had a relatively equal market share of international shipments – UPS had 58.8%
 4   of the international market while FedEx had 41.2%.23 The combined domestic and international
 5   shipping markets together generated sixty billion dollars in revenue in 2009.24
 6          AFMS alleges that both UPS and FedEx use complex customer contracts that shippers,
 7   even those with professional shipping departments, find difficult to understand.25 The companies’
 8   respective rates depend on a variety of factors, such as delivery time (next day, second day, or
 9   extended delivery time), volume of weekly or monthly shipments, weight, and distance.26 The
10   companies also include a variety of additional charges, such as surcharges for fuel, delivery to
11   remote zip code areas, commercial (versus residential) delivery, Saturday delivery, additional
12   handling, address correction for air or ground, pick-up, hazardous materials, large packages,
13   C.O.D., declared value, and delivery confirmation.27 AFMS contends that UPS and FedEx have
14   created a rating and fee matrix so complex that many, if not most, shippers must employ
15   specialists to help them understand the nuances of the agreements and how they pertain to
16   particular shipments.28
17          Parcel consultants such as AFMS gather and analyze data, including shippers’ past
18   transactions, to develop strategies to save the shippers money and match the shippers’ specific
19
20          21
             Id., ¶ 9.
21          22
             Id.
22          23
             Id.
23
            24
             Id.
24
            25
             Id., ¶ 10.
25
            26
26           Id.
            27
27           Id.

28          28
             Id.
                                                    4
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 1   needs to a carrier’s delivery services.29 UPS and FedEx allegedly hold themselves out as either
 2   the best positioned or most qualified party to provide advice and address concerns regarding
 3   various aspects of their delivery services.30 AFMS alleges that it, UPS, and FedEx are therefore
 4   all “participants in the market for shipping consultation services, which is comprised of those
 5   business entities which advise shippers regarding the delivery of time sensitive letters, documents
 6   and packages by air or by ground within the United States and to and from the United States to
 7   foreign countries.”31
 8           Consultants, like those employed by AFMS, help shippers negotiate with UPS and FedEx
 9   to achieve maximum savings.32 The consultants also provide logistical support for shippers
10   regarding such things as the selection of warehouse sites and technology solutions.33 Consultants
11   provide these services primarily “by highlighting the hard and soft issues inherent in a very
12   complex contractual and rating environment.”34 In the past, the revenue generated by many or
13   most consulting firms, including AFMS, was largely dependent on the savings achieved for each
14   client.35 They were therefore highly motivated to achieve additional discounts, leading to savings
15   for their clients.36
16           A 2006 Morgan Stanley survey of shippers using parcel delivery services showed that 11%
17   of the shippers surveyed used a third-party consultant to negotiate their rates, and that the use of
18   such consultants produced rates that were 49% lower than those a shipper could achieve by direct
19
20           29
              Id., ¶ 11.
21           30
              Id.
22           31
              Id.
23
             32
              Id., ¶ 12.
24
             33
              Id.
25
             34
26            Id.
             35
27            Id.

28           36
              Id.
                                                      5
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 1   negotiation with UPS or FedEx.37 The survey also reported that 14-15% of shippers switched
 2   from their primary domestic carrier to another carrier during the survey period, citing price
 3   differentials as the primary reason.38 A similar Morgan Stanley survey conducted in 2007 showed
 4   that 11% of all shippers used a consultant and that using third party consultants resulted in better
 5   discounts.39 That year, between 8-9% of shippers switched primary domestic carriers over a six
 6   month period, once again because of price.40
 7          AFMS alleges that the “actual and potential effect” of third party consultants on UPS’s and
 8   FedEx’s revenues and profits “would be at least in the low billions per year.”41 It asserts that
 9   eliminating such savings would significantly reduce discounted shipments and substantially
10   increase the companies’ profits.42
11          In addition to their direct impact on UPS and FedEx pricing, AFMS alleges that consultants
12   have stimulated competition between the two companies that would not otherwise have existed.43
13   It asserts that there is little, if any, “published price competition” between UPS and FedEx, and
14   that the companies have announced lock-step price increases annually for many years.44 The use
15   of “consultant generated discounts” has purportedly reinvigorated price competition; indeed,
16   between 2007 and 2009, AFMS alleges that it alone achieved more than one
17
18
19
            37
             Id., ¶ 13.
20
            38
             Id.
21
            39
             Id.
22
            40
23           Id.
            41
24           Id.
25          42
             Id., ¶ 14. The complaint alleges that defendants’ actions constitute price fixing under
26   United States v. Socony Vacuum Oil Co., 310 U.S. 150 (1940).
            43
27           Id., ¶ 15.

28          44
             Id.
                                                      6
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 1   hundred million dollars of customer savings on UPS and FedEx shipments.45
 2          AFMS asserts that UPS and FedEx determined that serious losses of revenues and profits
 3   would result from the increasing use of third party consultants. As a consequence, it contends,
 4   they decided to discontinue dealing with third party consultants.46 At an industry event in Chicago
 5   in October 2009, with more than two hundred “industry people” in attendance, executives from
 6   both UPS and FedEx purportedly appeared on a panel and announced the “no third-party
 7   consultant policy.”47 Allegedly, the executives “did not deny collusion between the companies
 8   in reaching this decision when confronted with and questioned about the[ir] new[ ] . . . policies.”48
 9
10          The no third-party consultant policies were purportedly confirmed in subsequent writings.
11   On April 23, 2010, UPS published an internal memorandum titled “Procedures for Interacting
12   with Third Party Negotiators and UPS Customers – Read Only.”49 The same day, FedEx
13   published an internal memorandum titled “Third Party Consultant Rules of Engagement for Field
14   Sales.”50 AFMS alleges that the memoranda describe a general policy of refusing to deal directly
15   with third party consultants, but also indicate that UPS and FedEx compete against those
16   consultants.51 UPS’s memorandun states that salespeople should “[e]mphasize to the customer that
17   UPS will continue to provide a competitive value proposition and [that] UPS is best positioned to
18   directly address the customer’s issues.” It also urges salespeople to “[r]einforce the existing value
19
20
21          45
              Id.
22          46
              Id., ¶ 16.
23
            47
              Id.
24
            48
              Id.
25
            49
26            Id., ¶17. This document is attached as Exhibit 1 to the complaint (“FedEx Memo”).
            50
27            Id. This document is attached as Exhibit 2 to the complaint (“UPS Memo”).

28          51
              Id., ¶ 17.
                                                       7
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 1   proposition and partnership with UPS.”52 FedEx’s memorandum states that “[i]t is up to Sales to
 2   be able to sell the ‘value’ to the customer of dealing directly with FedEx.” It directs its
 3   salespeople to advise customers “that we believe our sales team members are the most qualified
 4   experts in discussing and providing information about our diverse shipping services, solutions and
 5   rate structures, and therefore, [that FedEx] do[es] not negotiate with third parties on their
 6   behalf.”53
 7          AFMS alleges that on “numerous occasions” since the October 2009 announcement, UPS
 8   and FedEx have directly informed shippers that they, and not third party consultants, are best
 9   positioned to help shippers with their rates and contracts.54 AFMS cites multiple occasions on
10   which FedEx and UPS allegedly encouraged customers to deal directly with them, since they were
11   best positioned to address the customers’ shipping needs and answer questions regarding rate
12   structure.55 In one notable instance, at or outside the premises of a customer that had traditionally
13   done business with a third party consultant in Louisiana, UPS and FedEx representatives
14   purportedly met and conferred with each other before separately telling the customer that neither
15   company would deal with the customer if a third party consultant was involved.56
16          AFMS asserts that “the competitive impact of either FedEx or UPS unilaterally terminating
17   its dealings with third party consultants was so significant that neither company would have dared
18
19          52
              Id.
20          53
              Id.
21          54
              Id., ¶ 18.
22
            55
              Id., Exhs. 3-5. For example, in an email to Andrew Klein, President of MEDCO, FedEx
23   stated that it was “FedEx corporate policy [to] negotiat[e] business relationships directly and
24   exclusively with our customers, not through a third party.” The email continues: “Federal
     Express has recently taken a position that we will not sign a Non Disclosure with any of these
25   third party agents. . . . Their sole intent is to drive your costs down which I have no issue with.
     . . . We feel that dealing with you directly will produce more positive mutual results. . . . We
26   can negotiate with you directly and I assure you we will get you the desired result.” (Id., Exh.
27   3.)

28          56
              Id., ¶ 19.
                                                      8
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 1   to give the other such a huge potential competitive advantage/opportunity without an understanding
 2   that both would terminate dealings with third party consultants at or about the same time – as they
 3   did.”57 It further alleges that after the policies were announced, UPS and FedEx ceased dealing
 4   with AFMS following a seventeen-year amicable and mutually profitable business relationship.58
 5   A UPS representative purportedly told an AFMS managing director that UPS “would not offer
 6   any different pricing [for an AFMS customer] because they knew FedEx was not going to be
 7   pursuing the business.”59 AFMS also alleges that FedEx told an AFMS customer that it was not
 8   working with third party consultants, and that “UPS [was] going to be doing the same thing
 9   soon.”60 AFMS contends that UPS and FedEx could have known each other’s plans only if the
10   two companies were communicating with each other.61
11          AFMS asserts that UPS and FedEx enforce their respective policies by informing shippers
12   that if they (1) share contract data with third party consultants in violation of non-disclosure
13   agreements with UPS and FedEx, or (2) engage third party consultants, regardless of the sharing
14   of data, the carriers will refuse to discuss rates and terms, will refuse to negotiate price changes,
15   and will raise the rates charged.62 AFMS also alleges that UPS and FedEx have required shippers
16   to sign non-disclosure agreements and customer/carrier contracts, often carrying harsh penalties,
17   that “greatly restrict or completely revoke the shipper’s ability to share information regarding their
18   delivery services with third-party consultants. FedEx and UPS have also purportedly disparaged
19
            57
20            Id., ¶ 20.
            58
21            Id.
22          59
              Id.
23          60
               Id. The complaint does not allege the time at which this statement was purportedly made,
24   although there is perhaps an inference that it preceded the public meeting at which UPS and FedEx
     announced their new policies because the purported statement of the FedEx representative that
25   UPS was “going to be doing the same thing soon,” suggests that UPS had not yet implemented
26   its policy.
            61
27            Id.

28          62
              Id., ¶ 21.
                                                       9
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 1   third party consultants and the services they offer.63 AFMS alleges that it has “routinely” signed
 2   confidentiality and non-disclosure agreements with the two defendants, and maintained information
 3   it received concerning defendants’ pricing data and contract terms confidentially.64
 4          B.     UPS’s Internal Memorandum65
 5          As noted, UPS’s internal memorandum is titled “Procedures for Interacting with Third
 6   Party Negotiators and UPS Customers – Read Only.”66 The memorandum states:
 7          “Third Party Negotiators (3PNs) are individuals or companies that intervene
 8          between two other parties (in this context, UPS and our customer). Often, a 3PN
 9          will tell a UPS customer that it can more successfully represent the interests of the
10          customer than the customer is able to represent themselves. 3PNs have varying
11          degrees of experience, knowledge, and acumen. Some UPS customers consider,
12          or use, 3PNs because of their PERCEIVED expertise in our industry.
13          This communication provides updated procedures to the UPS sales force for
14          interaction with 3PNs retained by our customers. . . . UPS has a legitimate
15          business interest in avoiding improper interference with our customer relationships.
16          Additionally, UPS must protect proprietary information from improper use and
17
18
19
            63
             Id.
20
            64
             Id.
21
            65
22             UPS’s and FedEx’s April 23, 2010 internal memoranda are attached as Exhibits 1 and
     2 to the complaint. Under Rule 10(c), the court may properly consider these documents in
23   deciding the present motion. See, e.g., Haskell v. Time, Inc., 857 F.Supp. 1392, 1396 (E.D. Cal.
24   1994) (“Under FED.R.CIV.P. 10(c), the complaint is deemed to include any documents attached
     to it as exhibits as well as any documents incorporated into the complaint by reference”); see also
25   DeMarco v. DepoTech Corp., 149 F.Supp.2d 1212, 1217 (S.D. Cal. 2001) (“A district court
     reviewing a motion to dismiss may consider the facts alleged in the complaint, documents properly
26   attached to the complaint, and matters over which the Court may take judicial notice,” citing Hal
27   Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1555 n. 19 (9th Cir. 1989)).

28          66
             UPS Memo at 1.
                                                     10
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 1          disclosure.”67
 2          The memorandum sets forth the following procedures for working with customers that
 3   indicate they are contemplating use of a third party negotiator:
 4          “Emphasize to the customer that UPS will continue to provide a competitive value
 5          proposition and UPS is best positioned to directly address the customer’s issues.
 6          This will be done through a direct relationship with the customer.
 7          Remind the customer of the underlying cost potentially associated with using a 3PN
 8          (usually requiring upwards of 50% or more of any savings that might be
 9          negotiated), thereby dramatically reducing their direct savings that might be
10          negotiated. UPS will not provide lower rates simply because a 3PN is involved.
11          Reinforce the existing value proposition and partnership with UPS.”68
12          The memorandum also details procedures for working with customers that have engaged
13   a third party negotiator:
14          “If the customer is still going to use a 3PN in any capacity, you MUST notify your
15          Director of Sales and contact the Corporate Sales Team . . . to discuss next steps
16          before taking any other action with the customer related to the 3PN. At a minimum
17          be prepared to discuss [1] The type and size of the risk or opportunity for UPS[;]
18          [2] The specific reason(s) the customer is going to use the 3PN[;] [3] The
19          customer’s expected timeframe for 3PN engagement.”69
20          The memorandum prohibits sales representatives from “providing any information to a 3PN
21   or having any discussions with a 3PN about a UPS customer or our relationship with a UPS
22   customer . . .unless the customer and the 3PN have signed a Third Party Confidentiality and
23   Non-Disclosure Agreement (NDA) with UPS that has been approved by the Corporate Sales Team
24
25
            67
26           Id.
            68
27           Id. at 2.

28          69
             Id.
                                                    11
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 1   and by the Corporate Legal Department for that disclosure or series of disclosures.”70
 2          C.     FedEx’s Internal Memorandum
 3          FedEx’s April 23, 2010 internal memorandum – titled “Third Party Consultant Rules of
 4   Engagement for Field Sales”71 – describes FedEx’s position regarding third party consultants:
 5   •      “[T]he message to the market place is ‘no’ for direct engagement with consultants
 6          providing . . . services where the only value is price negotiation.
 7   •      “Fed Ex’s policy is to negotiate business relationships directly and exclusively with our
 8          customers, not through a third party consultant.
 9   •      “It is up to Sales to be able to sell the ‘value’ to the customer of dealing directly with
10          FedEx.
11   •      “Field Sales is in agreement with adopting a ‘Say No’ strategy but wants the ability to
12          exercise limited exceptions based on the metrics outlined in this document.
13   •      “Field Sales feels that having this exception process is vital to maintaining their
14          business.”72
15          The memorandum describes the manner in which FedEx wishes to have negotiations with
16   a customer proceed:
17          “If FedEx has previously done business directly with the customer, advise that we
18          believe our sales team members are the most qualified experts in discussing and
19          providing information about our diverse shipping services, solutions and rate
20          structures and, therefore, do not negotiate with third parties on their behalf. Offer
21          to set up a meeting to explain the value of dealing directly with FedEx.
22          If FedEx has previously negotiated business for the customer through this
23          consultant, advise the customer that we no longer negotiate with third parties but
24          as a courtesy to the customer, we will request an exception to bid on the business.
25
            70
26           Id.
            71
27           FedEx Memo at 1.

28          72
             Id. at 2.
                                                     12
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 1          Ask what functions the third party will handle for the customer to determine
 2          whether or not an exception is warranted.”73
 3          For new customers using a third party consultant, the memorandum instructs FedEx agents
 4   to “[a]dvise the customer that we do not negotiate with third parties,” and “[o]ffer to set up a
 5   meeting to explain the value derived from dealing directly with FedEx. . . .”74 The document
 6   contains additional instructions regarding “suggested phraseology for selling customers on the
 7   value of doing business directly with FedEx,” “recogniz[ing] whether a third party consultant is
 8   bringing value,” and “steps to request the exception process.”75 Among the suggested selling
 9   points is one that asserts that third party consultants “focus strictly on rate negotiations,” while
10   FedEx can “show [the customer] how . . . [to] reduc[e] overall supply chain cost[s]. . . .”76 The
11   memorandum also notes that “incentives” are “an important piece of any service/price
12   discussion,” and that its sales agents are the “most qualified” “to discuss incentives and provide
13   information on [its] rate structures and aligned services.”77
14
15                                           II. DISCUSSION
16          A.     Standard Governing Motions To Dismiss Under 12(b)(6)
17          A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted in the complaint.
18   A Rule 12(b)(6) dismissal is proper only where there is either a “lack of a cognizable legal
19   theory,” or “the absence of sufficient facts alleged under a cognizable legal theory.” Balistreri
20   v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1988). The court must accept all factual
21   allegations pleaded in the complaint as true, and construe them and draw all reasonable inferences
22
23
            73
             Id. at 4.
24
            74
             Id.
25
            75
26           Id. at 5-7.
            76
27           Id. at 5.

28          77
             Id.
                                                     13
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 1   from them in favor of the nonmoving party. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38
 2   (9th Cir. 1996); Mier v. Owens, 57 F.3d 747, 750 (9th Cir. 1995).
 3          The court need not, however, accept as true unreasonable inferences or legal conclusions
 4   cast in the form of factual allegations. See Bell Atlantic Corp. v. Twombly, 540 U.S. 544, 553–56
 5   (2007) (“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed
 6   factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
 7   requires more than labels and conclusions, and a formulaic recitation of the elements of a cause
 8   of action will not do”). Thus, a plaintiff’s complaint must “contain sufficient factual matter,
 9   accepted as true, to ‘state a claim to relief that is plausible on its face.’ . . . A claim has facial
10   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
11   inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 129 S.Ct.
12   1937, 1949 (2009); see also Twombly, 550 U.S. at 545 (“Factual allegations must be enough to
13   raise a right to relief above the speculative level, on the assumption that all the allegations in the
14   complaint are true (even if doubtful in fact)” (citations omitted)); Moss v. United States Secret
15   Service, 572 F.3d 962, 969 (9th Cir. 2009) (“[F]or a complaint to survive a motion to dismiss,
16   the non-conclusory ‘factual content,’ and reasonable inferences from that content, must be
17   plausibly suggestive of a claim entitling the plaintiff to relief,” citing Iqbal and Twombly).
18          B.      Whether AFMS Has Alleged Antitrust Standing
19          As a threshold matter, UPS asserts that AFMS lacks standing to bring antitrust claims.78
20   The factors relevant in determining whether a plaintiff has standing to sue for violation of the
21   antitrust laws are:
22          “(1) the nature of the plaintiff’s alleged injury; that is, whether it was the type the
23          antitrust laws were intended to forestall;
24          (2) the directness of the injury;
25
26          78
              UPS MTD at 6. Defendants do not dispute that AFMS has Article III standing. This,
27   however, is not co-extensive with antitrust standing. See Datagate, Inc. v. Hewlett-Packard Co.,
     60 F.3d 1421, 1425 n. 1 (9th Cir. 1995) (“Unlike Article III standing, the question of standing
28   to sue under the antitrust laws does not go to subject matter jurisdiction”).
                                                     14
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 1          (3) the speculative measure of the harm;
 2          (4) the risk of duplicative recovery; and
 3          (5) the complexity in apportioning damages.”
 4   Amarel v. Connell, 102 F.3d 1494, 1507 (9th Cir. 1996) (citing Assoc. Gen. Contractors of Calif.,
 5   Inc. v. Calif. State Council of Carpenters, 459 U.S. 519, 535 (1983)); see also Handgards, Inc.
 6   v. Ethicon, Inc. (“Handgards II”), 743 F.2d 1282, 1295 (9th Cir. 1984) (listing these factors).
 7   “To conclude that there is antitrust standing, a court need not find in favor of the plaintiff on each
 8   factor.” American Ad Management, Inc. v. General Tel. Co., 190 F.3d 1051, 1055 (9th Cir.
 9   1999). Moreover, “no single factor is decisive.” R.C. Dick Geothermal Corp. v. Thermogenics,
10   Inc., 890 F.2d 139, 146 (9th Cir. 1989) (en banc). The greatest weight, however, is given to the
11   nature of plaintiff’s injury. American Ad Management, 190 F.3d at 1055 (“[W]e give great weight
12   to the nature of the plaintiff’s alleged injury”). The parties’ arguments focus on the first two
13   factors and do not address the final three. As a consequence, the court’s analysis focuses on the
14   first two factors.79
15                  1.      Nature of Plaintiff’s Injury
16          “The antitrust laws do not provide a remedy to every party injured by unlawful economic
17   conduct. It is well established that the antitrust laws are only intended to preserve competition for
18   the benefit of consumers.” American Ad Management, 190 F.3d at 1055. Defendants contend
19   that AFMS does not allege injury “of the type the antitrust laws were intended to prevent.”80
20   Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977); see also Glen Holly
21   Entertainment, Inc. v. Tektronix Inc., 343 F.3d 1000, 1009 (9th Cir. 2003) (noting that the
22   primary issue on appeal was “whether [the] injury is ‘of the type the antitrust laws were intended
23
24          79
              The court’s prior order dismissing AFMS’s first amended complaint concluded that non-
25   duplicative recovery was possible in this case, which weighed in favor of a finding that AFMS had
     antitrust standing. The parties have not argued that issue in their briefs regarding the second
26   amended complaint, and the court reiterates its prior conclusion regarding the subject. (FAC
27   Order at 22-23.)

28          80
              UPS Motion at 6; FedEx Motion at 2.
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 1   to prevent’”); Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 987 (9th Cir. 2000) (“the
 2   ‘nature of the plaintiff’s alleged injury’ [factor] requires a showing of ‘antitrust injury,’ i.e.,
 3   ‘injury of the type the antitrust laws were intended to prevent and that flows from that which
 4   makes defendants’ acts unlawful’”). “[T]he mere fact of . . . reduced profits resulting from an
 5   agreement between other parties does not constitute an antitrust injury to a plaintiff.” Juster
 6   Assoc. v. Rutland, 901 F.2d 266, 269 (2d Cir. 1989) (citing Cargill, Inc. v. Monfort of Colorado,
 7   Inc., 479 U.S. 104, 116 (1990)). Rather, to demonstrate that it has suffered an antitrust injury,
 8   a plaintiff must allege that defendants’ unlawful actions have caused “anticompetitive effects.”
 9   Brunswick, 429 U.S. at 487. This is because the antitrust laws were “enacted for ‘the protection
10   of competition, not competitors.” Id. at 488 (emphasis original, quoting Brown Shoe Co. v.
11   United States, 370 U.S. 294, 320 (1962)).
12          A necessary predicate to showing antitrust injury is that the plaintiff must compete in the
13   same market in which defendants are allegedly restraining competition. See American Ad
14   Management, 190 F.3d at 1057 (“The Supreme Court’s cases have also ‘emphasized the central
15   interest [of the Sherman Act] in protecting the economic freedom of participants in the relevant
16   market.’ We have derived from this principle the ‘corollary’ that the ‘injured party be a
17   participant in the same market as the alleged malefactors.’ Antitrust injury requires the plaintiff
18   to have suffered its injury in the market where competition is being restrained. Parties whose
19   injuries, though flowing from that which makes the defendant’s conduct unlawful, are experienced
20   in another market do not suffer antitrust injury,” citing Assoc. Gen. Contractors, 459 U.S. at 538;
21   Bhan v. NME Hospitals, Inc., 772 F.2d 1467, 1470 (9th Cir. 1985)). See also Ass’n of Wash.
22   Pub. Hosp. Dists. v. Philip Morris Inc., 241 F.3d 696, 704-05 (9th Cir. 2001) (“[A]ntitrust injury
23   requires the plaintiff to have suffered its injury in the market where competition is being
24   restrained. Parties whose injuries, though flowing from that which makes the defendant’s conduct
25   unlawful, are experienced in another market do not suffer antitrust injury.’ Although the Hospital
26   Districts allege that they are potential participants in the nicotine delivery market, and this is the
27   market where competition allegedly has been restrained, the district court ruled that they
28   nonetheless failed to state an antitrust injury. The court reasoned that the Hospital Districts’
                                                     16
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 1   injuries were not experienced in the nicotine delivery market, but rather in the health care market.
 2   We agree,” citing, inter alia, American Ad Management, 190 F.3d at 1057); Exhibitors’ Serv.,
 3   Inc. v. Am. Multi-Cinema, Inc., 788 F.2d 574, 578-79 (9th Cir. 1986) (“[E]xamining the nature
 4   of ESI’s injury, we find it was not of ‘the type the antitrust laws were intended to forestall.’ As
 5   with the union in Associated General Contractors, ESI is neither a consumer of defendants’ goods
 6   or services nor a competitor of the defendants in the restrained market. . . . Here, it is undisputed
 7   that the restraint is in the market for first-run film exhibition in the MetroCenter area of Phoenix.
 8   As a licensing agent, ESI is quite clearly neither a competitor of these exhibitors nor a consumer
 9   of goods or services in this market,” citing Bubar v. Ampco Foods, Inc., 752 F.2d 445, 449 (9th
10   Cir. 1985), and Assoc. Gen. Contractors, 459 U.S. at 538-39 (emphasis original)).81
11          Courts have often expressed reluctance to dismiss antitrust complaints for failure to plead
12   the existence of a viable “market,” because this is generally a question of fact that can only be
13   resolved after discovery. See, e.g., Todd v. Exxon Corp., 275 F.3d 191, 199-200 (2d Cir. 2001)
14   (“Because market definition is a deeply fact-intensive inquiry, courts hesitate to grant motions to
15   dismiss for failure to plead a relevant product market”); Found. for Interior Design Educ.
16   Research v. Savannah College of Art & Design, 244 F.3d 521, 531 (6th Cir. 2001) (“Market
17   definition is a highly fact-based analysis that generally requires discovery”); Double D Spotting
18   Serv., Inc. v. Supervalu, Inc., 136 F.3d 554, 560 (8th Cir. 1998) (discussing the relevant market
19   and noting that “courts are hesitant to dismiss antitrust actions before the parties have had an
20   opportunity for discovery”); Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436
21   (3d Cir. 1997) (explaining that “in most cases, proper market definition can be determined only
22   after a factual inquiry into the commercial realities faced by consumers”). Moreover, the
23   existence of a relevant market need not “be pled with specificity”; an antitrust complaint will
24   survive a Rule 12(b)(6) motion, therefore, “unless it is apparent from the face of the complaint
25
26          81
               The Ninth Circuit in American Ad Management commented that the holding in Exhibitors’
27   Serv., Inc. was “properly analyzed . . . under Brunswick” as a case in which plaintiff suffered no
     antitrust injury because its injury was independent of the unlawfulness of defendants’ agreement
28   to split the market. American Ad Management, 190 F.3d at 1058 n. 8.
                                                     17
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 1   that the alleged market suffers a fatal legal defect.” Newcal Industries, Inc. v. Ikon Office
 2   Solution, 513 F.3d 1038, 1045 (9th Cir. 2008).
 3          The parties vigorously dispute the validity of the market AFMS has alleged. AFMS defines
 4   the relevant market as “the market for shipping consultation services, which is composed of those
 5   business entities which advise shippers regarding the delivery of time sensitive letters, documents,
 6   and packages by air or by ground within the United States and to and from the United States to
 7   foreign countries.”82 Defendants attack this market definition on various grounds, and argue that,
 8   assuming such a market exists, AFMS lacks antitrust standing because FedEx and UPS do not
 9   compete in the market.83
10          Central to the adequacy of AFMS’s market definition is the Ninth Circuit’s decision in
11   Yellow Pages Cost Consultants, Inc. v. GTE Directories Corp., 951 F.2d 1158 (9th Cir. 1991).
12   There, the court considered whether Yellow Pages cost consultants had suffered antitrust injury
13   when GTE “announce[d] that it would end its decades-old practice of letting consultants order,
14   place, and process yellow page advertisements on behalf of advertisers.” Id. at 1160. Plaintiffs
15   were “several distinct consulting firms that offer[ed] advice to businesses on advertising
16   effectively and efficiently in yellow pages directories.” Id. at 1159. The consulting firms alleged
17   that because of GTE’s “Byzantine pricing structure,” the cost of advertisements that were virtually
18   indistinguishable in appearance and size varied radically. Id. The consultants offered advertisers
19   the “ability to fashion the most economical use of the yellow pages directories”; collectively, they
20   saved advertisers more than $3 million a year. Id. at 1159-60. The consultants provided advice
21   to clients who sought to minimize costs while maximizing ad space.               They also placed
22   advertisements directly with GTE on their clients’ behalf. Id. at 1159. Although GTE had a
23   “decades-old practice of letting consultants order, place, and process yellow page advertisements
24   on behalf of customers,” it reversed its position. Id. at 1160. GTE’s insistence on dealing
25   directly with its customers led many advertisers to cancel their contracts with the consultants,
26
            82
27           SAC, ¶ 6.

28          83
             UPS Motion at 6; FedEx Motion at 3.
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 1   citing “added inconvenience.” Id.
 2          In support of its conclusion that GTE was competing in the same market as the consultants,
 3   the court cited a GTE policy manual that recommended sending the following letter to advertisers
 4   that had previously retained consultants:
 5          “GTE Directories Corporation invites you to handle your yellow pages advertising
 6          directly with one of our trained professional representatives. As you know, there
 7          are no service fees, commissions, or other hidden charges when you place your
 8          advertising directly with GTE Directories Corporation. Some agencies, however,
 9          will charge you an extra fee to do exactly what GTE Directories corporations can
10          do.” Id. at 1161.
11   GTE also urged its employees to offer to work with advertisers to “modify, streamline, and yes,
12   even reduce your yellow pages advertising program. . . .” Id. Eschewing an overly rigid or
13   formalistic definition of “competitor,” the Ninth Circuit concluded that “the ‘field of competition
14   [includes] . . . the group or groups of sellers who have actual or potential ability to deprive each
15   other of significant levels of business.’” Id. at 1162 (quoting Thurman Industries, Inc. v. Pay N’
16   Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989) (alterations original)). It noted that the
17   function of competition was to “impos[e] ‘an essential discipline on producers and sellers of goods
18   to provide the consumer with a better product at a lower cost. . . .” Id. (quoting United States
19   v. Syufy Enterprises, 903 F.2d 659, 662-63 (9th Cir.1990)); see also American Ad Management,
20   190 F.3d at 1058 (“[I]t is not the status as a consumer or competitor that confers antitrust
21   standing, but the relationship between the defendant’s alleged unlawful conduct and the resulting
22   harm to the plaintiff”).
23          The parallels between this case and Yellow Pages Cost Consultants are striking. Like
24   GTE’s advertising rates, FedEx’s and UPS’s shipping rate structures are complex and difficult to
25   understand, and can result in significant cost differentials. Like the consultants in Yellow Pages
26   Cost Consultants, AFMS advises shippers on navigating defendants’ rate structures to maximize
27   efficiency and reduce costs. It does this by “gather[ing] and analyz[ing] data . . . to develop a
28   strategy and advise a shipper on how to save money and match that shipper’s specific needs to a
                                                   19
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 1   carrier’s delivery services.”84 On occasion, AFMS has dealt directly with FedEx and UPS on its
 2   client’s behalf.85 Like GTE, UPS and FedEx recently decided to discontinue “direct dealings with
 3   third-party consultants like AFMS” after maintaining a business relationship with them for years.
 4   Also like GTE, UPS and FedEx attempted to discourage customers from using consultants like
 5   AFMS.86
 6          Specifically, GTE had invited customers to deal directly with its sales and customer service
 7   representatives, and assured them that doing so would entail no additional service fees,
 8   commissions or other charges.        Id. at 1161.     The representatives were directed to offer
 9   “advertisers advice on the form and content of their advertisements,” and assist them in “plac[ing]
10   [the] advertisements [in] relevant GTE directories.” Id. Here, in like fashion, UPS’s internal
11   memorandum directs its representatives to “[e]mphasize to the customer that UPS will continue
12   to provide a competitive value proposition and [that] UPS is best positioned to directly address the
13   customer’s issues.” It also instructs them to “[r]einforce the existing value proposition and
14   partnership with UPS.”87 UPS suggests that its sales representatives tell customers that a third
15   party negotiator will generally take as much as fifty percent of the savings it achieves as a fee, and
16   that the actual reduction in shipping costs for a customer using a third party negotiator may thus
17   be less than the savings it could achieve by dealing directly with UPS.88 FedEx’s statements are
18   even more explicit. Its policy memorandum directs sales representatives to tell customers that
19   FedEx sales team members “are the most qualified experts in discussing and providing information
20
21
22
            84
23            SAC, ¶ 11.
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24            Id., ¶ 3 (“Often AFMS acts as an agent for shippers during contract negotiations with
     carriers”).
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            86
26            Id., ¶ 17.
            87
27            UPS Memo at 1.

28          88
              Id. at 2.
                                                      20
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 1   about [FedEx’s] diverse shipping services, solutions and rate structures. . . .”89 The memorandum
 2   also offers “suggested phraseology for selling customers on the value of doing business directly
 3   with FedEx,” which includes such statements as:
 4   •      “Our ability to understand your business, develop solutions, apply FedEx service offerings
 5          and then quantify the value of these solutions to you is where we provide the greatest
 6          impact to your business.”
 7   •      “Our current position is that by working with third party consultants that focus strictly on
 8          rate negotiations, we don’t have an opportunity to show you how FedEx can assist with
 9          reducing overall supply chain cost, which offers a much greater value than price alone.”
10   •      “FedEx feels that our representatives are most qualified to discuss incentives and provide
11          information on our rate structures and aligned services.”
12   •      “In our experience, we can help in the areas of revenue growth, profitability (managing
13          expense), and capital utilization, which all impacts your company’s financial
14          performance.”90
15   In addition to the policy memoranda, the complaint alleges that FedEx and UPS representatives
16   urged customers to bypass third-party consultants both verbally and in writing, assuring them that
17   doing so would achieve better results for the client. AFMS asserts, for example, that a FedEx
18   representative said his company was “in the best position to discuss [a customer’s] shipping needs
19   [and] . . . rate structure,” hewing to the instructions in the company’s internal memorandum.91
20          The myriad statements contained in the memoranda, as well as in defendants’ alleged
21   communications with customers, give rise to a plausible inference that defendants intended to
22   compete with AFMS in the market for shipping consultation services. While some of the
23   statements in the memoranda are vaguely phrased, and while some indicate that the cost savings
24   achieved by consultants such as AFMS could potentially be accomplished through a broad review
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            89
26           FedEx Memo at 3.
            90
27           Id. at 4.

28          91
             SAC, ¶ 18.
                                                     21
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 1   of the customer’s business and shipping practices that did not focus exclusively on shipping rates,
 2   UPS and FedEx clearly directed their sales representatives to imply or directly assert that
 3   customers did not need to use third party consultants because FedEx and UPS could readily
 4   provide the type of service the consultants offered. See Yellow Pages Cost Consultants, 951 F.2d
 5   at 1161 (“GTE has cited no authority that a trier of fact could not conclude that otherwise identical
 6   services are distinct because one party charges for them as part of a package of products and the
 7   other charges for them separately in accordance with a different marketing scheme”)
 8          Defendants attack AFMS’s market definition primarily on the basis that the services they
 9   offer and those AFMS offers are neither similar nor fungible. The Ninth Circuit has “explained
10   that the term relevant market ‘encompasses notions of geography as well as product use, quality,
11   and description. The geographic market extends to the “area of effective competition . . . where
12   buyers can turn for alternative sources of supply.” The product market includes the pool of goods
13   or services that enjoy reasonable interchangeability of use and cross-elasticity of demand.’”
14   Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1063 (9th Cir. 2001) (quoting Oltz v. St. Peter’s
15   Community Hospital, 861 F.2d 1440, 1446 (9th Cir. 1988), and Moore v. Jas. H. Matthews &
16   Co., 550 F.2d 1207, 1218 (9th Cir. 1977) (alteration original; some internal quotation marks
17   omitted)).
18          At this stage of the proceedings, and absent further factual development, the court cannot
19   accept the distinction defendants posit. One of defendants’ central contentions is that AFMS’s
20   services are focused primarily on price negotiation, and that, as a matter of logic, defendants do
21   not negotiate with themselves to give customers lower rates.92 While this assertion has some
22   intuitive force, it is at least as reasonable to infer that in the midst of discussing rates with
23   customers, and as a means of encouraging direct dealings with them, defendants advise shippers
24   how to navigate their rate structures to maximize productivity while reducing cost. See Rebel Oil,
25   Inc. v. Atlantic Richfield Co., 51 F.3d 1421, 1434 (9 th Cir. 1995) (“a “market” is the group of
26   sellers or producers who have the “actual or potential ability to deprive each other of significant
27
28          92
              UPS Opp. at 8;
                                                      22
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 1   levels of business,’” quoting Thurman Industries, 875 F.2d at 1374). Indeed, the Yellow Pages
 2   Cost Consultants court addressed and rejected a similar argument. There, the district court
 3   defined the market as the “sale of ‘advice to advertisers on how to reduce the cost of their
 4   advertisements.’” 951 F.2d at 1161. Based on the Ninth Circuit’s opinion, it appears that
 5   defendants there also argued that they could not possibly compete in a market whose purpose was
 6   to reduce the profit they made. See id. at 1160 (“GTE argued that the relevant market for
 7   Consultants’ services was that of offering independent advice on reducing yellow pages costs and
 8   that it could not compete in the market so defined because its salespersons were not independent
 9   of it”). The Ninth Circuit disagreed, relying on the opinion of one of the consultants’ experts that
10          “[t]he fact that . . . [GTE] generally advises its customers to spend greater amounts
11          for Yellow Pages advertising, while Yellow Pages consultants generally advise their
12          customers to spend lesser amounts, does not put GTEDC and Yellow Pages
13          consultants in separate markets. At any given time, some stockbrokers are telling
14          their clients to sell, while other stockbrokers are telling their clients to buy. Yet
15          both bull and bear stockbrokers are competing in a single market for investment
16          advisement services.” Id. at 1161-62 (record citation omitted).
17   Defendants attempt to distinguish Yellow Pages Cost Consultants by noting that the court in that
18   case observed that a trier of fact could conclude that defendants’ marketing services were
19   “essentially identical” to those of the consultants. Id. at 1161-62. These arguments ignore the
20   different posture in which Yellow Pages came to the Ninth Circuit. There, the parties had
21   developed a summary judgment record; here the case is merely at the pleadings stage. Id. at
22   1159-60. Here, the undisputed evidence may show (or a trier of fact may find) that the parties’
23   services are sufficiently distinct that defendants do not compete in the same market as AFMS. In
24   deciding a a Rule 12(b)(6) motion to dismiss, however, where the complaint is the only document
25   before the court and where all inferences must be drawn in plaintiff’s favor, the court must
26   conclude that plaintiffs’ allegations of a market for consulting services are adequate.
27          Turning to defendants’ other arguments regarding AFMS’s market definition, UPS asserts
28   that “[u]nlike in Yellow Pages . . . the alleged statements show UPS urging shippers to forgo
                                                    23
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 1   third-party consultant services in favor of reliance on [the] shippers’ own resources.”93 This
 2   assertion is at odds with the language of UPS’s internal memorandum. It does more than more
 3   than “urg[e] shippers to negotiate directly with UPS” by relying on their own resources.94 The
 4   memorandum clearly directs UPS customer service representatives and agents to emphasize the
 5   value of a “direct relationship” with the company and to remind customers that UPS is “best
 6   positioned” to address their shipping needs.95 UPS relies heavily on the fact that the memorandum
 7   does not baldly state the company will assist customers to achieve cost-effective shipping rates.
 8   The statements made, however, give rise to a plausible inference that UPS intended to
 9   communicate to customers that they no longer needed to use third party consultants because they
10   could achieve the same results working directly with a UPS customer service representative, who
11   would assist them in achieving the best “value proposition.” Whether this interpretation or UPS’s
12   proffered construction is the correct one will be a factual question for the jury. At the pleadings
13   stage, however, the court must draw all inferences in favor of plaintiff. Newcal Industries, 513
14   F.3d at 1043 n. 2 (“Because this case is an appeal from a dismissal under Fed.R.Civ.P. 12(b)(6),
15   we accept as true all facts alleged in the complaint, and we draw all reasonable inferences in favor
16   of Plaintiffs-Appellants”); see also High Technology Careers v. San Jose Mercury News, 996 F.2d
17   987, 990 (9th Cir.1993) (holding that proper definition of the market depends on a “factual inquiry
18   into the ‘commercial realities' faced by consumers” (quotations omitted)).
19          UPS also asserts that AFMS’s alleged market is underinclusive because it does not include
20   customers’ “in-house resources.”96 The relevant market is “determined by the reasonable
21   interchangeability of use or the cross-elasticity of demand between the product itself and
22   substitutes for it.” Thurman Industries, 875 F.2d at 1374; Newcal, 513 F.3d at 1045 (“[T]he
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24
            93
             UPS Reply at 7 (emphasis added).
25
            94
26           UPS Reply at 8.
            95
27           UPS Memo at 2.

28          96
             UPS MTD at 14-15; UPS Reply at 5-6.
                                              24
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 1   market must encompass the product at issue as well as all economic substitutes for the product”).
 2   A complaint can be dismissed if it fails to satisfy this test. Id. at 1045. UPS argues that many
 3   shippers employ specialists who know how to interpret its and FedEx’s rate structures, and thus
 4   provide services similar to AFMS’s.97 The failure to include these individuals in the alleged
 5   market, however, does not doom AFMS’s claims at this stage of the litigation. AFMS’s
 6   allegations give rise to an inference that many, if not most, shippers lack in-house resources that
 7   can provide services akin to those it offers. The complaint alleges that “third-party consultants,
 8   UPS and FedEx, gather and analyze data, including a shipper’s past transactions, to develop a
 9   strategy and advise a shipper on how to save money and match that shipper’s specific needs to a
10   carrier’s delivery services.”98 It specifically pleads that even customers with professional shipping
11   departments find it difficult to understand defendants’ contracts and rates.99 The value that
12   consultants, FedEx, and UPS allegedly add is their intimate knowledge of defendants’ rate
13   structures, which place them in a category separate from any in-house specialists. The case is thus
14   distinguishable from one in which plaintiff “alleges a proposed relevant market that clearly does
15   not encompass all interchangeable substitute products even when all factual inferences are granted
16   in plaintiff’s favor. . . .” Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d
17   Cir. 1997) (emphasis added). See DocMagic, Inc. v. Ellie Mae, Inc., 745 F.Supp.2d 1119, 1136
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            97
19            UPS bases this assertion on two paragraphs in AFMS’s complaint. The pleading alleges
     that“many, if not most, shippers must employ specialists to help them understand the nuances of
20   the agreements and how they pertain to the specific parcels that a shipper wishes to deliver.”
     (SAC, ¶ 10.) It also cites Morgan Stanley reports published in 2006 and 2007, which state that
21
     “11% of the surveyed shippers used a third-party consultant to negotiate their rates.” (Id., ¶ 13.)
22          From these allegations, UPS infers that a significant number of customers use in-house
     specialists to negotiate with defendants. It is just as reasonable to infer, however, that other
23   shippers have no access to assistance in comprehending defendants’ rate structures and in
24   negotiating rates, or that they have shipping departments that do not understand the rate structures
     or the best ways to maximize savings. AFMS, in fact, expressly alleges the latter fact in
25   paragraph 10 of the complaint.
26          98
              SAC, ¶ 11. The complaint alleges that consultants do this by “highlighting the hard and
27   soft issues inherent in a very complex contractual and rating environment.” (Id., ¶ 12.)

28          99
              Id., ¶ 10.
                                                      25
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 1   (N.D. Cal. 2010) (“Likewise, Ellie Mae’s assertion that an adapter program such as DocMagic
 2   XL is reasonably interchangeable with a network, and so should be included in the alleged market,
 3   contradicts the complaint’s allegations that participation in the network provides benefits beyond
 4   mere connectivity. Finally, Ellie Mae’s factual contentions about the available network substitutes
 5   discussed in its SEC filing are not appropriate for resolution at the pleadings stage”); In re eBay
 6   Seller Antitrust Litigation, 545 F.Supp.2d 1027, 1032 (N.D. Cal. 2008) (quoting the statement in
 7   Brownlee v. Applied Biosystems Inc., No. 88 20672, 1989 WL 53864, *3 (N.D. Cal. Jan. 9,
 8   1989), that “[a]lthough plaintiffs’ market [which included only the parties to the case] is narrowly
 9   defined and may be implausible as a theoretical matter, plaintiffs are entitled to the opportunity
10   to prove their allegation that there is a [relevant market],” and concluding that “[p]laintiffs in the
11   . . . case [before it were] similarly . . . entitled to an opportunity to prove their allegations”); see
12   also E.W. French & Sons, Inc. v. General Portland Inc., 885 F.2d 1392, 1404 (9th Cir. 1989)
13   (“The concept of a single ‘relevant market’ is itself an abstraction. Competition is a matter of
14   degree. The demand for Pepsi, for example, may be extremely sensitive to changes in the price
15   of other colas, somewhat sensitive to changes in the price of root beer, and still less sensitive to
16   changes in the price of mineral water. It would be an oversimplification to draw the line at a
17   single point along this continuum. . . . The ultimate issue in a rule of reason case100 is whether
18   a challenged practice will produce adverse effects on price or output”).101
19
            100
20            Although plaintiff contends that after “all the evidence is amassed,” it will be able to
     demonstrate that defendants’ conduct is per se unlawful, AFMS assumes for the purposes of this
21   motion that the rule of reason applies to its first cause of action. (Opp. at 3.) The court also
22   assumes, without deciding, that the rule of reason applies.
            101
23              At oral argument, UPS cited two unpublished Ninth Circuit decisions that affirmed
     district court dismissal under Rule 12(b)(6) for failure to plead interchangeability of services. The
24   cases are distinguishable. In Golden Gate Pharmacy Services, Inc. v. Pfizer, Inc., No. 10–15978,
25   2011 WL 1898150 (9th Cir. May 19, 2011) (Unpub. Disp.), plaintiff alleged that “the
     pharmaceutical industry” was the product market. This market encompassed the “manufacture,
26   sale, and innovation of all pharmaceutical products, prescription pharmaceutical products,
27   non-prescription pharmaceutical products, brand name pharmaceutical products and particular
     pharmaceutical products and therapies specifically noted and identified by Pfizer and Wyeth in
28   their annual reports.” Id. at *1. The complaint failed to allege facts suggesting interchangeability
                                                       26
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 1          Moreover, UPS apparently wishes the court to rule as a matter of law that in-house
 2   resources necessarily must be included in the relevant product market. The authority it cites,
 3   however, does not so hold. UPS relies heavily on United States v. Sungard Data Systems, Inc.,
 4   172 F.Supp.2d 172 (D.D.C. 2001). There, following a a bench trial, the court found that what
 5   it called “captive production” should be included in the relevant market because the services could
 6   viably replace those provided by outside parties. Id. at 186; see also In re Municipal Bond
 7   Reporting Antitrust Litig., 672 F.2d 436, 441 (5th Cir. 1982) (rejecting, on summary judgment,
 8   an argument that in-house resources should be excluded from the product market); Twin City
 9   Sportservice, Inc. v. Charles O. Finley & Co., Inc., 512 F.2d 1264, 1272 n. 1 (9th Cir. 1975)
10   (reviewing a trial court’s findings of fact and conclusions of law, and suggesting that, “where
11   provision of concession services to major league baseball was the relevant market, [plaintiff’s]
12   failure to include as participants in that market baseball clubs which supply their own concessions
13   very likely would compel reversal”). Here, as noted, the parties and the court find themselves
14   in a markedly different procedural posture. When evidence is presented, it may be that shippers’
15   in-house resources must be included in any definition of the relevant market. UPS’s cited
16   authority demonstrates that under certain factual circumstances, inclusion of in-house resources
17   in the relevant product market is warranted. It also demonstrates, however, defining the product
18   market is a highly factual matter best suited to resolution at a later stage of the proceeding unless
19   the complaint reveals a “fatal legal defect” in the market alleged. Newcal Industries, Inc., 513
20
21   across such a broad market. Id. Here, the complaint alleges a rather narrowly tailored market,
     which is not obviously subject to facial attack. It supports its claim, moreover, with factual
22
     allegations suggesting interchangeability of its services with UPS’s and FedEx’s.
23           More pertinent is Colonial Medical Group, Inc. v. Catholic Health Care West, No.
     10–16490, 2011 WL 2938227 (9th Cir. Jul. 22, 2011) (Unpub. Disp.), where the circuit court
24   upheld a Rule 12(b)(6) dismissal because the relevant market was underinclusive as alleged.
25   Plaintiff had defined the market as “healthcare providers in the business of providing medical
     services to prison inmates at secure or guarded hospital facilities within [Central California].” Id.
26   at *1. The court affirmed dismissal because this definition failed to include medical services
27   provided to inmates in facilities such as local jails. Id. While the underinclusiveness of the
     market alleged in Colonial Medical was apparent, given the more obvious facts of that case, the
28   underinclusiveness of plaintiff’s market definition here is not immediately apparent to the court.
                                                      27
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 1   F.3d at 1045.
 2          Moreover, under Newcal Industries, AFMS may be able to demonstrate that the market it
 3   has alleged is a viable submarket. 513 F.3d at 1045 (“[A]lthough the general market must include
 4   all economic substitutes, it is legally permissible to premise antitrust allegations on a submarket.
 5   That is, an antitrust claim may, under certain circumstances, allege restraints of trade within or
 6   monopolization of a small part of the general market of substitutable products. In order to
 7   establish the existence of a legally cognizable submarket, the plaintiff must be able to show (but
 8   need not necessarily establish in the complaint) that the alleged submarket is economically distinct
 9   from the general product market” (emphasis added)). Without further factual development, the
10   court cannot say that the market AFMS has alleged “suffers a fatal legal defect.” Id. (“[S]ince
11   the validity of the ‘relevant market’ is typically a factual element rather than a legal element,
12   alleged markets may survive scrutiny under Rule 12(b)(6) subject to factual testing by summary
13   judgment or trial”); Image Tech. Servs. v. Eastman Kodak, 125 F.3d 1195, 1203 (9th Cir. 1997)
14   (“Ultimately what constitutes a relevant market is a factual determination for the jury”); Datel
15   Holdings Ltd. v. Microsoft Corp., 712 F.Supp.2d 974, 997 (N.D. Cal. 2010) (“[T]he question of
16   whether the market should include other products is better resolved at the summary judgment
17   stage, rather than on a motion to dismiss”); Delano Farms Co. v. California Table Grapes
18   Comm’n, 623 F.Supp.2d 1144, 1176 (E.D. Cal. 2009) (“Motions to dismiss are not the place to
19   delve into a factual inquiry on whether, in the market, local, regional, national, or international,
20   for table grapes, if other varieties of table grapes are effective substitutes”). The court thus finds
21   UPS’s arguments regarding the underinclusiveness of the market alleged unavailing.102
22          FedEx, for its part, asserts that “consultation services” is a vague term that “can describe
23
24
            102
25             The market AFMS alleges for purposes of its restraint of trade claim is different from,
     and appears to subsume, the submarkets it alleges for purposes of its monopolization and
26   attempted monopolization claims. The submarkets alleged are the market for shipping and
27   consultation services regarding UPS’s delivery services, and the market for shipping and
     consultation services regarding FedEx’s delivery services. The viability of these submarkets is
28   addressed in Part C, infra.
                                                   28
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 1   a wide variety of activities in the context of the shipping industry.”103 Given the ambiguity of the
 2   term, FedEx argues, the complaint fails to allege that it was competing with AFMS in the same
 3   market. FedEx argues that from the perspective of the customer, the services AFMS offers
 4   primarily concern price negotiation and obtaining discounts on FedEx rates. It contends that by
 5   contrast, it offers shipping services, and whatever shipping consultation services it offers are
 6   provided in the context of a package of broader advice that helps customers “solve their business
 7   needs.”104   As a consequence, FedEx contends, the services it offers are not “reasonably
 8   interchangeable” with those AFMS offers, since a consumer would never look to FedEx to obtain
 9   the services AFMS provides.105
10
11          103
               FedEx Reply at 5.
12          104
               FedEx Internal Memorandum at 27.
13
            105
                 FedEx relies heavily on the Morgan Stanley reports cited in the complaint, which
14   purportedly “refer to third-party consultants as a distinct group from carriers, such as FedEx and
15   UPS.” (FedEx Reply at 6.) While the court may consider documents on which the complaint
     relies, it cannot accept the truth of the assertions contained in such documents without converting
16   a motion to dismiss into a motion for summary judgment. Fecht v. Price Co., 70 F.3d 1078, 1080
     n. 1 (9th Cir. 1995) (“Defendants attached to their motion to dismiss the full text of the
17
     Company’s corporate disclosure documents and the securities analysts’ reports quoted in the
18   Complaint. Plaintiffs argue that because the district court considered the full text of these
     documents – many portions of which were not pleaded in the complaint – defendants’ motion to
19   dismiss should have been converted into a motion for summary judgment, affording plaintiffs the
20   opportunity to present additional evidentiary materials. This argument is foreclosed by Branch
     v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994), cert. denied, 512 U.S. 1219 . . . (1994), in which
21   we stated: ‘As it makes sense and comports with existing practice, we hold that documents whose
     contents are alleged in a complaint and whose authenticity no party questions, but which are not
22
     physically attached to the pleading, may be considered in ruling on a Rule 12(b)(6) motion to
23   dismiss. Such consideration does ‘not convert the motion to dismiss into a motion for summary
     judgment,’” quoting Branch, 14 F.3d at 454 (in turn quoting Romani v. Shearson Lehman Hutton,
24   929 F.2d 875, 879 n. 3 (1st Cir. 1991))); United States v. Jones, 29 F.3d 1549, 1553 (11th Cir.
25   1994) (citing Liberty Mut. Ins. Co. v. Rotches Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir.
     1992)); see also . 1994) (“We agree that courts generally cannot take notice of findings of fact
26   from other proceedings for the truth [of the matter] asserted therein because these findings are
27   disputable and usually are disputed”); San Luis v. Badgley, 136 F.Supp.2d 1136, 1146 (E.D. Cal.
     2000) (quoting Jones for the proposition that a court “may take judicial notice of a document filed
28   in another court not for the truth of the matters asserted in the litigation, but rather to establish the
                                                        29
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 1          These assertions, however, are belied by the allegations in the complaint and FedEx’s
 2   internal memorandum. The memorandum discusses the fact that sales representatives should
 3   provide customers with information regarding rate structures, implies that the negotiation of a
 4   specific shipping rate can be folded into a broader discussion of “rate structures and aligned
 5   services,” and states that FedEx sales representatives can help with “profitability,” which is
 6   defined as “managing expense.”106 It further states that FedEx “can assist with reducing overall
 7   supply chain cost[s],” and provide advice concerning “incentives.”107 The complaint alleges that
 8   FedEx told one customer that, while “cost of service” was “probably one of the most critical
 9   issues in a negotiation,” the customer could obtain “more positive mutual results” by dealing
10   directly with FedEx.108 These allegations support an inference that FedEx knew its rate structure
11   and pricing were of paramount importance to its customers, and implied that it could provide
12   better information than third party consultants on maximizing “profitability” and managing
13   “expenses.” They also support an inference that FedEx communicated to its customers that it
14   could provide everything they had received from consultants such as AFMS and more. In short,
15   FedEx suggested that its services were a “reasonable substitute” for AFMS’s services. See
16   Newcal Industries, 513 F.3d at 1045 (“First and foremost, the relevant market must be a product
17
18
     fact of such litigation and related filings”); General Electric Capital Corp. v. Lease Resolution
19   Corp., 128 F.3d 1074, 1082 n. 6 (7th Cir Consequently, the court declines to accept as true the
     fact that there is a distinction between “carriers” and “consultants,” although it takes notice of the
20   fact that Morgan Stanley drew the distinction in its reports.
21           Moreover, while “examining such practical indicia as industry or public recognition” of
     a market may be helpful in determining its contours, Brown Shoe Co. v. United States, 370 U.S.
22   294, 325 (1962), the Morgan Stanley reports are not particularly helpful in this regard. The
23   reports were issued in 2006 and 2007 and predate the beginning of the alleged anticompetitive
     behavior by defendants. It stands to reason that Morgan Stanley distinguished between
24   “consultants” and “carriers” at that time, since defendants had not yet taken action to compete
     with providers such as AFMS.
25
            106
26            FedEx Memo at 4.
            107
27            Id.

28          108
              Id., ¶ 18.
                                                      30
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 1   market. The consumers do not define the boundaries of the market; the products or producers
 2   do,” citing Brown Shoe, 370 U.S. at 325).
 3          To the extent FedEx argues that AFMS’s alleged market fails because FedEx offers its
 4   price consultation services as part of a broader overall package of “rate structures and aligned
 5   services,” such that its services are not interchangeable with AFMS’s, Yellow Pages Cost
 6   Consultants forecloses the argument. That court explicitly disagreed with the “contention that a
 7   trier of fact could not find that GTE and Consultants compete in the market for yellow pages’
 8   advice because they do not supply advertisers with identical recommendations.” Id. at 1161.
 9   “Reasonable” interchangeability is the standard, see Brown Shoe, 370 U.S. at 325, not total
10   fungibility. See also Pacific Telesis Group v. International Telesis Communications, 994 F.2d
11   1364, 1369 (9th Cir. 1993) (approving Yellow Pages Cost Consultants’s holding that “the
12   independent consultants and GTE were competitors as they each imposed on the other a discipline
13   in providing consumers with a better product at a lower cost” and holding that the parties before
14   it were “in competition in providing advice on the use and development of telecommunications
15   services”); Yellow Pages Cost Consultants, 951 F.2d at 1161 (“[O]therwise identical services”
16   are not distinct merely “because one party charges for them as part of a package of products and
17   the other charges for them separately in accordance with a different marketing scheme”).
18          Consequently, the court concludes that AFMS has adequately alleged antitrust injury in the
19   relevant market.
20                  2.    Directness of the Injury
21          Defendants next argue that AFMS’s alleged injury is too indirect and derivative to confer
22   standing.109 They maintain that, if anyone has suffered direct injury as a result of their conduct,
23   it is AFMS’s customers, who allegedly must now pay higher rates for UPS and FedEx package
24   shipping and delivery services.110 “[A] plaintiff normally lacks standing where that plaintiff’s
25   customer is the immediate victim of the defendant’s conduct. . . .” Amarel, 102 F.3d at 1510
26
            109
27            UPS Motion at 10; FedEx Motion at 7.

28          110
              Id.
                                                     31
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 1   (citing Northwest Wholesale Stationers, Inc. v. Pacific Stationery and Printing Co., 472 U.S. 284,
 2   294 (1985)). See also Eagle v. Star-Kist Foods, Inc., 812 F.2d 538, 541-42 (9th Cir. 1987) (“The
 3   chain of causation between the injury and the alleged restraint in the market should lead directly
 4   to the ‘immediate victims’ of any alleged antitrust violation. . . . The question then is whether
 5   the injuries in the present case (lost wages, lost business opportunities, and lost union dues) are
 6   direct injuries suffered by the class members or are derivative of the injuries suffered by the vessel
 7   owners. . . . The vessel owners have complete control over negotiations [for] the sale of the fish.
 8   Once a sale has been completed, the crewmembers are paid their wages (after deducting expenses)
 9   either on a ‘share of the catch’ or ‘per-ton’ basis. Then, and only then, are the union dues
10   calculated. Thus, any injury suffered by the class members is derived from any injury suffered
11   by the vessel owners during the sale of the fish”); Metro-Goldwyn-Mayer Studios Inc. v. Grokster,
12   Ltd., 269 F.Supp.2d 1213, 1222 (C.D. Cal. 2003) (“Any injury suffered by Sharman is entirely
13   derivative of Altnet’s alleged injuries, even if harm to Sharman is a foreseeable consequence of
14   the conduct alleged. Indeed, it is specifically not the design of [federal antitrust laws] to provide
15   recourse to every party arguably injured by antitrust violations,” citing Eagle, 812 F.2d at 542).
16          Whether AFMS’s injury is direct is linked to the sufficiency of AFMS’s allegations that
17   it competes in the same market as defendants. The complaint alleges that AFMS “has been
18   deprived of revenue and profits it otherwise would have made,” and estimates that its damages
19   are “in the range of between $15,000,000-$20,000.000.”111 It asserts that, because defendants
20   “are the only two significant time-sensitive delivery carriers of any consequence in the United
21   States,” their decision to cease dealing with third party consultants “directly threaten[ed] the
22   continued viability” of AFMS and other consultants.112 Moreover, the complaint alleges that
23   defendants have informed customers that they will not deal with third party consultants,
24   presumably causing customers to terminate their services or not to employ AFMS in the first
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26
            111
27            SAC, ¶ 32.

28          112
              Id., ¶ 25.
                                                      32
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 1   instance.     This constitutes direct injury to plaintiff’s interests.113   See Yellow Pages Cost
 2   Consultants, 951 F.2d at 1162 (“Directness in the antitrust context means ‘close in the chain of
 3   causation.’ There could hardly be a closer causal link than the one between GTE’s refusal to let
 4   Consultants place advertisements for their clients and their clients’ canceling contracts in letters
 5   to Consultants that mention the GTE policy change” (internal citations omitted)).
 6          UPS maintains that AFMS’s injury is nonetheless derivative, since the true injury caused
 7   by defendants’ decision to cease dealing with third party consultants is suffered by companies that
 8   ship packages, not AFMS. UPS distinguishes Yellow Pages Cost Consultants on the basis that the
 9   plaintiffs in that case sometimes dealt directly with the defendant and conducted negotiations on
10   behalf of advertisers.114 The challenged conduct there was a “refusal to deal” with plaintiffs.
11   Here, UPS asserts, the complaint does not allege that AFMS dealt directly with defendants. UPS
12   is mistaken, as the complaint alleges that “[o]ften, AFMS acts as an agent for shippers during
13   contract negotiations with carriers.”115 This indicates that defendants’ refusal to deal with third
14   party consultants has a direct causal effect on AFMS, not merely a derivative one. While it is true
15   that AFMS sometimes acts only in an advisory role for certain of its customers, the same was
16   possibly true of the plaintiffs in Yellow Pages Cost Consultants. See 951 F.2d at 1159 (observing
17   that “[t]hese Consultants advise businesses on the content and form of their advertisements in
18   yellow pages directories. Prior to a change in GTE policy, the Consultants also placed such
19   advertisements with directories published by GTE” (emphasis added)).
20                   3.      Conclusion As Respects Standing
21           AFMS has adequately alleged that it competes with defendants in the market for shipping
22   consultation services, and that it was direclty injured by defendants’ decision to cease dealing with
23   third party shipping consultants. Although the parties have not argued the relevance of the
24   remaining three Amarel factors, the nature of the injury allegedly suffered is given great weight
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            113
26               Id., ¶¶ 17, 20.
            114
27               UPS MTD at 12-13.

28          115
                 SAC, ¶ 3.
                                                       33
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 1   in the standing analysis. Amarel, 102 F.3d at 1507 (“We have said, however, that the nature of
 2   the plaintiff's alleged injury is of ‘tremendous significance’ in determining whether a plaintiff has
 3   antitrust standing,” quoting Bhan, 772 F.2d at 1470 n. 3)). As AFMS has alleged that factor with
 4   sufficient specificity, and successfully pled the directness of its injury, the court concludes that
 5   AFMS has adequately pled that it has standing to bring this action.
 6          C.      Whether AFMS States a Claim for Restraint of Trade Under Section 1
 7          Having concluded that AFMS had sufficiently alleged that it has standing, the court turns
 8   to whether it has stated a claim for restraint of trade under Section 1 of the Sherman Act. “To
 9   establish a section 1 violation under the Sherman Act, a plaintiff must demonstrate three elements:
10   (1) an agreement, conspiracy, or combination among two or more persons or distinct business
11   entities; (2) which is intended to harm or unreasonably restrain competition; and (3) which actually
12   causes injury to competition, beyond the impact on the claimant, within a field of commerce in
13   which the claimant is engaged (i.e., ‘antitrust injury’).” McGlinchy v. Shell Chem. Co., 845 F.2d
14   802 (9th Cir. 1988).116 The parties dispute whether AFMS has demonstrated sufficient injury to
15   competition.
16          To establish injury to competition, a plaintiff must do more than plead injury to itself - it
17   must allege the existence of injury to the market’s competitiveness as a whole. “Even ‘the
18   elimination of a single competitor, standing alone, does not prove anticompetitive effect.’ This
19   is the thrust of the third element of the McGlinchy test, which requires ‘injury to competition,
20   beyond the impact on the claimant.’” Austin v. McNamara, 979 F.2d 728, 739 (9th Cir. 1992)
21   (quoting Kaplan v. Burroughs Corp., 611 F.2d 286, 291 (9th Cir. 1979) and McGlinchy, 845 F.2d
22   at 811)); Les Shockley Racing, Inc. v. Nat’l Hot Rod Ass’n, 884 F.2d 504, 508 (9th Cir. 1989)
23   (“Plaintiffs correctly argue that removal of one or more competing sellers from any market
24   necessarily has an effect on competitive conditions within that market. But removal of one or a
25   few competitors need not equate with injury to competition”); Fine v. Barry & Enright Prods.,
26
            116
27            AFMS assumes, for purposes of this motion, that the rule of reason applies to its claims,
     although it reserves the right to demonstrate at a later stage in the litigation that defendants’
28   conduct constitutes a per se violation. (Opp. at 3.)
                                                    34
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 1   731 F.2d 1394, 1399 (9th Cir. 1984) (“To establish a section 1 violation under the rule of reason,
 2   a plaintiff must show an agreement which is intended to harm or unreasonably restrain competition
 3   and actually does so”); Tominaga v. Shepherd, 682 F.Supp. 1489, 1496 (C.D. Cal. 1988)
 4   (“Plaintiff must show injury to a market or to competition in general, not merely injury to
 5   individual competitors”).
 6          To satisfy this standard, plaintiff must provide more than conclusory allegations or bald
 7   assertions that injury has occurred. In re Webkinz Antitrust Litigation, 695 F.Supp.2d 987, 993
 8   (N.D. Cal., 2010) (“Conclusory allegations of anticompetitive effect are insufficient without
 9   supporting facts as to how competition in the tied markets has actually been reduced or harmed”);
10   Perry v. Rado, 504 F.Supp.2d 1043, 1047 (E.D. Wash. 2007) (“At most, the Complaint makes
11   conclusory allegations of injury to competition. This is insufficient”); see also Les Shockley
12   Racing, 884 F.2d at 508 (“Ordinarily, the factual support needed to show injury to competition
13   must include proof of the relevant geographic and product markets and demonstration of the
14   restraint’s anticompetitive effects within those markets. Avoiding such market analysis requires
15   proof of actual detrimental competitive effects such as output decreases or price increases.”
16   (internal citation omitted)).
17          The complaint alleges that defendants’ purported antitrust violations “have had the effect
18   of substantially lessening, suppressing, eliminating and interfering with competition in the business
19   of advising shippers regarding the delivery of time sensitive letters, documents and packages by
20   air or by ground . . .”117 AFMS also asserts that defendants’ policy shift regarding third party
21   consultants has had “injurious effects,” such as the suppression and diminishment of competition,
22   freedom of choice, competition among and between consultants, and higher prices.118 Other
23   allegations assert that defendants’ conduct “threatens the viability of any . . . third-party consultant
24
25
26
            117
27             SAC, ¶ 7.

28          118
               Id., ¶ 26.
                                                       35
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 1   and largely eviscerates the ability of third-party consultants to compete in the relevant market.”119
 2   All of AFMS’s allegations are defective in that they are wholly conclusory and are unsupported
 3   by specific facts. The only allegation that any party has suffered concrete harm concerns AFMS’s
 4   monetary losses; as noted, however, injury to a single competitor does not suffice to support a
 5   Section 1 claim.120 Ninth Circuit precedent is clear that “a section one claimant may not merely
 6   recite the bare legal conclusion that competition has been restrained unreasonably. Rather, a
 7   claimant must, at a minimum, sketch the outline of the antitrust violation with allegations of
 8   supporting factual detail.” Les Shockley Racing, 884 F.2d at 507–08. Without facts regarding
 9   the actual impact of defendants’ policies on the relevant market and the injurious effects they have
10   had on competition in that market, the complaint fails to plead an essential element of a restraint
11   of trade claim.121 As AFMS has not adequately alleged harm to competition in the relevant
12
13          119
              Id., ¶ 30.
14          120
               In its opposition, AFMS asserts that it has, in fact, pled an effect on competition, e.g.,
15   reduced price competition and the elimination of a substantial sector of the relevant market. (Opp.
     at 7-9.) It cites, as an example, paragraph 14 of the complaint, which states that “eliminating
16   TPCS and the discounts they produce is a form of price fixing.” (Opp. at 7.) This statement is
17   a legal conclusion; it pleads no facts showing injury to competition in the relevant market. AFMS
     also asserts that paragraph 15 states that prices have substantially increased as a result of
18   defendants’ conduct. (Id.) To the contrary, paragraph 15 alleges that “[t]he use of consultant
     generated discounts has reinvigorated price competition between UPS and FedEx, which otherwise
19
     was at a reduced level.” (SAC, ¶ 15.) This allegation does not address the current state of
20   competition in the market, nor how it has been affected by defendants’ alleged antitrust violations.
21
            121
               AFMS cites Rebel Oil Co., Inc. v. Atlantic Richfield Co., 51 F.3d 1421 (9th Cir. 1995)
22
     for the proposition that antitrust injury is “perfected” whenever an injury to “consumer welfare”
23   is threatened. Although the welfare of consumers was certainly one of the animating forces
     behind passage of the Sherman Act, AFMS appear to contend that anytime a party with market
24   power engages in conduct that results in increased prices, consumer welfare is threatened. Such
25   a wide-ranging statement is not supported by Rebel Oil, which dealt specifically with primary-line
     discrimination in pricing and the dangers inherent in that practice. See id. at 1445-46. Moreover,
26   the Ninth Circuit’s recent holding in Brantley rejects the broad proposition AFMS advances. 2011
27   WL 2163961 at *5 (listing allegations that insufficiently allege injury to competition, including
     “(1) limiting the manner in which Distributors compete with one another because Distributors are
28   unable to offer a la carte programming, (2) reducing consumer choice, and (3) increasing prices”);
                                                       36
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 1   market, its claim under Section 1 of the Sherman Act fails.122
 2
 3   id. at *3 (“Nor do allegations regarding harm to consumers, either in the form of reduced choice
     or increased prices, state a Section 1 claim. The Supreme Court has noted that both are ‘fully
 4
     consistent with a free, competitive market,’ and are therefore insufficient to establish an injury to
 5   competition.” (quoting Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28, 44-45 (2006))).

 6          122
                Because AFMS’s Section 1 claim adequately alleges injury to competition in the relevant
     market, the court declines to address whether AFMS has pled facts that plausibly suggest the
 7
     existence of a conspiracy between UPS and FedEx. The court also declines to address FedEx’s
 8   argument that vertical restraints are presumptively procompetitive, and that AFMS has failed to
     rebut that presumption in its pleading. (FedEx MTD at 14-15.)
 9           As guidance, however, the court offers two observations. First, it is true that the Supreme
10   Court in Twombly held that allegations of parallel conduct, standing alone, are not sufficient to
     support a conspiracy claim. 550 U.S. at 564-65; see William O. Gilley Enterprises, Inc. v.
11   Atlantic Richfield Co., 588 F.3d 659, 667-68 (9th Cir. 2009) (“The Court concluded that
     allegations of parallel conduct in themselves do not provide a sufficient basis to sustain a
12
     conspiracy claim”). Twombly makes clear, however, that it does not “require heightened fact
13   pleading of specifics, but only enough facts to state a claim to relief that is plausible on its face.”
     Id. at 570. See also In re Graphics Processing Units Antitrust Litig., 527 F.Supp.2d 1011, 1024
14   (N.D. Cal. 2007) (“This is not to say that to survive a motion to dismiss [alleging inadequate
15   pleading of conspiracy], plaintiffs must plead specific back-room meetings between specific actors
     at which specific decisions were made. Nor is this order imposing the stricter pleading standard
16   set forth in Rule 9(b) to allegations of conspiracy”). Rather, the Twombly Court noted that “[a]n
     allegation of parallel conduct . . . gets the complaint close to stating a claim, but without some
17
     further factual enhancement it stops short of the line between possibility and plausibility of
18   entitlement to relief.” Twombly, 550 U.S. at 557. Thus, “allegations of parallel conduct . . .
     must be placed in a context that raises a suggestion of a preceding agreement. . . .” Id. They
19   “need[ ] some setting suggesting the agreement necessary to make out a § 1 claim.” Id. The
20   Court in Twombly noted that the parties before it agreed that “that ‘complex and historically
     unprecedented changes in pricing structure made at the very same time by multiple competitors,
21   and made for no other discernible reason’ would support a plausible inference of conspiracy.”
     Id. at 557 n. 4. Here, AFMS alleges just this type of thing. It asserts that after almost two
22
     decades of dealing with third party consultants, defendants announced on the same day, during
23   the same panel discussion, that each had decided to cease dealing with consultants. It asserts that
     the companies’ representatives did not deny collusion when questioned. (SAC, ¶ 16.) The
24   complaint further alleges that the companies issued internal memoranda the same day that advised
25   their employees of the specifics of the new policies. (Id., ¶ 17), and that their representatives
     made statements to customers indicating knowledge of the competitor’s policy before it was
26   announced (id., ¶ 20). Additionally, there is an allegation of collusive conduct in which sales
27   representatives for the two companies conferred before telling a customer that neither defendant
     would deal with a customer that had engaged a third party consultant. (Id., ¶ 19.) While the
28   complaint does not allege the timing of the incident, the fact that representatives of the companies
                                                       37
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 1          D.      Whether AFMS States a Claim for Monopolization or Attempted
 2                  Monopolization Under Section 2
 3          Section 2 of the Sherman Act makes it illegal for any “person” to “monopolize, or attempt
 4   to monopolize, or combine or conspire with any other person or persons, to monopolize any part
 5   of the trade or commerce among the several States, or with foreign nations.” 15 U.S.C. § 2.
 6   Private parties are afforded a right of action to enforce this provision of the Sherman Act by
 7
 8   were purportedly telling customers not just that their company would not deal with the customer
     if it engaged a third party consultant, but that its competitor would similarly refuse to deal with
 9   the customer, supports an inference of agreement. No discernible reason appears on the face of
10   the complaint why the companies took these steps at the same time after dealing with third party
     consultants for so long. Thus, the complaint appears to contain “enough facts to ‘nudge [AMFS’s]
11   claims across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.
             Defendants contend that they had a rational economic motivation for taking the action they
12
     did. Whether such a motivation exists, of course, was central to Twombly’s analysis of the
13   plausibility of antitrust allegations. See id. at 566 (“As to the ILECs’ supposed agreement to
     disobey the 1996 Act and thwart the CLECs’ attempts to compete, we agree with the District
14   Court that nothing in the complaint intimates that the resistance to the upstarts was anything more
15   than the natural, unilateral reaction of each ILEC intent on keeping its regional dominance”); see
     also In re Graphics Processing Units, 527 F.Supp.2d at 1024 (“At most, they have suggested that
16   defendants’ employees and executives attended the same meetings, and thereafter, defendants
     engaged in parallel behavior that could be explained by each firm acting in [its] own
17
     self-interest”). AFMS alleges that in addition to offering the delivery service that gives rise to the
18   market for shipping consultation services, FedEx and UPS participate consulting services market.
     This dual role inherently gives defendants a competitive advantage in the shipping consultation
19   market. The fact that they are exploiting that advantage does not render their conduct unlawful.
20   Information about their pricing and rate structures is proprietary, and as defendants correctly note,
     they are under no obligation to share that information with outsiders if they choose not to do so.
21   See Intergraph Corp. v. Intel Corp., 195 F.3d 1346, 1363 (Fed. Cir. 1999). Defendants’
     preference for dealing directly with their customers is similarly both logical and lawful.
22
             The complaint does more, however, than simply allege that defendants refused to deal with
23   middlemen or share proprietary information; it asserts that defendants threatened not to deal with
     customers who engaged third party consultants, even if those consultants acted not as agents
24   negotiating shipping contracts, but as advisers. (SAC, ¶¶ 18-21.) It is true that defendants’
25   internal memoranda do not explicitly state that customers dealing with third party consultants will
     be boycotted, and appear to grant some discretion to sales representatives to seek exceptions to
26   the general policy. Nonetheless, it is not clear that exceptions will be granted or if so, with what
27   frequency. It may well be, therefore, that AFMS alleges more than a mere refusal to deal with
     third party consultants, and that its allegations suggest an unlawful attempt to force customers to
28   deal exclusively with them.
                                                       38
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 1   Section 4 of the Clayton Act, which states in part that “any person who shall be injured in his
 2   business or property by reason of anything forbidden in the antitrust laws may sue therefor in any
 3   district court of the United States . . . and shall recover threefold the damages by him sustained,
 4   and the cost of suit, including a reasonable attorney’s fee.” 15 U.S.C. § 15; see also, e.g., Assoc.
 5   Gen. Contractors, 459 U.S. at 529-30; In re Nine West dxdShoes Antitrust Litig., 80 F.Supp.2d
 6   181, 185 (S.D.N.Y. 2000) (“Section 4 of the Clayton Act allows private enforcement of the
 7   antitrust laws and broadly defines the class of persons who may maintain a private damage
 8   action”). To state a claim for monopolization under § 2, a plaintiff must plead “‘(1) the
 9   possession of monopoly power and (2) the willful acquisition or maintenance of that power as
10   distinguished from growth or development as a consequence of a superior product, business
11   acumen, or historic accident.” Eastman Kodak Co. v. Image Technical Servs., Inc., 504 U.S.
12   451, 480 (1992) (quoting United States v. Grinnell Corp., 384 U.S. 563, 571 (1966)); accord
13   High Tech. Careers v. San Jose Mercury News, 996 F.2d 987, 989-90 (9th Cir. 1993).
14          To satisfy the monopoly power element, plaintiff must plead the relevant market and the
15   fact that defendant possesses monopoly power in that market. See MRO Communications, Inc.
16   v. American Tel. & Tel. Co., 205 F.3d 1351, 1999 WL 1178964, *1 (9th Cir. Dec. 13, 1999)
17   (Unpub. Disp.) (“To make out a claim of monopolization in violation of 15 U.S.C. § 2 , MRO
18   had to allege: (1) AT & T’s possession of monopoly power in the relevant market; (2) AT & T’s
19   willful acquisition or maintenance of that power through exclusionary conduct; and (3) causal
20   antitrust injury,” citing American Professional Testing Serv., Inc. v. Harcourt Brace Jovanovich
21   Legal and Professional Publications, Inc., 108 F.3d 1147, 1151 (9th Cir. 1997)); Amarel, 102
22   F.3d at 1521 (“Claims for violation of Section 2 must allege two key elements: (1) the possession
23   of monopoly power in the relevant market and (2) the willful acquisition or maintenance of that
24   power”); see also U.S. Anchor Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986, 994 (11th Cir. 1993)
25   (“Defining the market is a necessary step in any analysis of market power and thus an
26   indispensable element in the consideration of any monopolization or attempt case arising under
27   section 2”); Griffiths v. Blue Cross & Blue Shield, 147 F.Supp.2d 1203, 1213 n. 12 (N.D. Ala.
28   2001) (“[A] plaintiff bringing a monopolization claim under Section 2 of the Sherman Act must
                                                   39
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 1   define and prove the relevant market”).123
 2          Alternatively, a plaintiff can state a claim for attempted monopolization. The elements of
 3   that claim are: “(1) that the defendant has engaged in predatory or anticompetitive conduct with
 4   (2) a specific intent to monopolize and (3) a dangerous probability of achieving monopoly
 5   power.’” Cascade Health Solutions v. PeaceHealth, 515 F.3d 883, 893 (9th Cir. 2008) (quoting
 6   Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993), and citing Amarel, 102 F.3d at
 7   1521); accord Rebel Oil Co., Inc. v. Atlantic Richfield Co., 51 F.3d 1421, 1422-23 (9th Cir.
 8   1995) (citing McGlinchy v. Shell Chem. Co., 845 F.2d 802, 811 (9th Cir. 1988)); California
 9   Computer Prod., 613 F.2d at 736. The requireme00nts of a monopolization claim and attempted
10   monopolization claim “are similar, differing primarily in the requisite intent and the necessary
11   level of monopoly power.” Image Technical Services, Inc. v. Eastman Kodak Co., 125 F.3d
12   1195, 1202 (9th Cir. 1997) (citing California Computer Prod., 613 F.2d at 736-37).
13          As it did with respect to its Section 1 claim, AFMS has redefined the relevant market for
14   purposes of its Section 2 claims. Recognizing that neither defendant competes to provide shipping
15   consultation services related to use of the other’s shipping service, AFMS has divided the market
16   into two sub-markets. These are defined respectively as “the market for shipping consultation
17   services [to] advise shippers regarding UPS’s delivery of time sensitive letters, documents, and
18   packages” and “the market for shipping consultation services [to] advise shippers regarding
19
20
21          123
               As noted in MRO Communications, to satisfy § 4 of the Clayton Act, a plaintiff must also
     plead “causal ‘antitrust’ injury.” Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 736
22
     (9th Cir. 1987); see also In re Air Passenger Computer Reservations Sys. Antitrust Litig., 694
23   F.Supp. 1443, 1466 (C.D. Cal. 1988) (“The Supreme Court has held that not all forms of injury
     caused by antitrust violations are compensable. In Brunswick [Corp. v. Pueblo Bowl-O-Mat, Inc.,
24   429 U.S. 477, 488 (1977)], the Court held that an antitrust plaintiff must show that it was injured
25   by the anticompetitive consequences of the antitrust violation. Plaintiff must show that ‘the injury
     was caused by a reduction, rather than an increase, in competition flowing from the defendant’s
26   acts, since ‘[t]he antitrust laws . . . were enacted for the protection of competition not
27   competitors,’” quoting California Computer Prod. v. International Business Machines, Corp., 613
     F.2d 727, 732 (9th Cir.1979) (some internal quotation marks omitted)), aff’d sub nom Alaska
28   Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536 (9th Cir. 1991).
                                                     40
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 1   FedEx’s delivery of time sensitive letters, documents, and packages. . . .”124 AFMS alleges that:
 2          “Beginning in the Fall of 2009 . . . [each defendant] has been and is engaged in a
 3          plan and scheme . . . to achieve or maintain monopoly power . . . in the related
 4          market for shipping consultation services regarding [each defendant’s] own delivery
 5          services.
 6                  The actual monopolization, or alternatively the attempt to monopolize, has
 7          consisted of a deliberate course of action, undertaken by each defendant with the
 8          specific intent of eliminating plaintiff AFMS, and other third party consultants as
 9          factors in the market for shipping consultation services regarding [each defendant’s]
10          own delivery services. . . . This course of conduct has resulted in [each defendant]
11          actually monopolizing the market for shipping consultation services regarding [its]
12          own delivery services. . . . Alternatively, if [either defendant’s] conduct has fallen
13          short of actually monopolizing that market, it presents a dangerous probability of
14          success. . . .”125
15          Much like its definition of the relevant market for purposes of the Section 1 claim, the
16   validity of AFMS’s definition of the relevant sub-markets is crucial to its ability to plead a Section
17   2 claim. See Kodak, 125 F.3d at 1202 (“To demonstrate market power by circumstantial
18   evidence, a plaintiff must: ‘(1) define the relevant market. . . ,” citing Rebel Oil, 51 F.3d at
19   1434). “Without a proper definition of the relevant market, it is impossible to determine a party’s
20   influence over that market. . . .” Kodak, 125 F.3d at 1203 (citing Rebel Oil, 51 F.3d at 1434,
21   in turn quoting Thurman Industries, 875 F.2d at 1374). “Failure to identify a relevant market is
22   a proper ground for dismissing a Sherman Act claim.” Tanaka v. University of Southern
23   California, 252 F.3d 1059, 1063 (9th Cir. 2001).
24          The parties dispute whether AFMS has pled the existence of a “single-brand” market, such
25   that each defendant exercises monopoly power in the market for consultation regarding its own
26
            124
27            SAC, ¶¶ 39, 44.

28          125
              Id., ¶¶ 40-42.
                                                      41
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 1   shipping services. AFMS relies heavily on Newcal Industries to defend the proposed submarkets.
 2   513 F.3d at 1046-49. There, the Ninth Circuit explained the characteristics of a single-brand
 3   submarket by contrasting the Supreme Court’s decision in Eastman Kodak Co. v. Image Technical
 4   Services, Inc., 504 U.S. 451 (1992), which recognized a market restricted to consumers of
 5   Kodak-brand products, with two decisions from the Third and Ninth Circuits, Queen City Pizza,
 6   Inc. v. Domino’s Pizza, Inc., 124 F.3d 430 (3d Cir.1997), and Forsyth v. Humana, Inc., 114 F.3d
 7   1467 (9th Cir.1997), which held that plaintiffs who had entered into contractual agreements with
 8   defendants to use certain of their services exclusively had not properly defined a market for
 9   antitrust purposes. As in those prior cases, the plaintiffs in Newcal Industries alleged the existence
10   of a primary market and an “aftermarket” in products related to the primary market. Plaintiffs
11   did not assert that defendants engaged in anticompetitive conduct in the primary market; rather,
12   they alleged that defendants “locked” plaintiffs into purchasing services only from them in the
13   aftermarket. Id. at 1048. The Newcal Industries court distilled three basic principles from its
14   review of these cases:
15          “First, the law permits an antitrust claimant to restrict the relevant market to a
16          single brand of the product at issue (as in Eastman Kodak). Second, the law
17          prohibits an antitrust claimant from resting on market power that arises solely from
18          contractual rights that consumers knowingly and voluntarily gave to the defendant
19          (as in Queen City Pizza and Forsyth ). Third, . . . the law permits an inquiry into
20          whether a consumer’s selection of a particular brand in the competitive market is
21          the functional equivalent of a contractual commitment, giving that brand an
22          agreed-upon right to monopolize its consumers in an aftermarket. The law permits
23          an inquiry into whether consumers entered into such ‘contracts’ knowing that they
24          were agreeing to such a commitment.” Newcal Industries, 513 F.3d at 1048-49.
25   The critical questions identified by the Newcal Industries court were (1) the point at which the
26   customers were “locked-in” to the aftermarket and (2) whether they knowingly locked themselves
27   into using defendant’s services in the aftermarket by an explicit contractual obligation or some
28   other means. Id. at 1049-50. Concluding that the case before it was more like Eastman Kodak
                                                42
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 1   than Queen City Pizza and Forsyth, the Ninth Circuit observed that the Newcal Industries plaintiffs
 2   had not been forewarned by explicit contractual provisions that they were binding themselves to
 3   use only Ikon’s services. Id. It noted that “market imperfections, as well as [Ikon’s] fraud and
 4   deceit, prevent[ed] consumers from realizing that their choice in the initial market [would] impact
 5   their freedom to shop in the aftermarket.” Id.
 6          The court finds Newcal Industries and In re Apple & AT&TM Antitrust Litigation, 596
 7   F.Supp.2d 1288 (N.D. Cal. 2008) – another case on which AFMS relies – inapposite.126
 8   Although the cases recognize the possibility that single-brand “submarkets” can exist, they are
 9   more properly characterized as “aftermarket” cases, in which customers’ freedom to contract for
10   services needed only after they have purchased a primary product is restricted by actions the
11   defendant takes in the primary market at the time the primary product is sold. Newcal Industries,
12   513 F.3d at 1049-51 (addressing an alleged aftermarket for replacement parts and services,
13   derivative of a market for copy machines); In re Apple & AT&TM Antitrust Litig., 596 F.Supp.2d
14   at 1032 (addressing an alleged aftermarket for iPhone voice and data services, derivative of the
15   market for iPhones). The cases hold that whether a viable antitrust claim exists turns on whether,
16   by buying the defendant’s primary product, the customers knowingly and voluntarily agreed to
17   be locked in to using only the defendant’s services in the aftermarket.
18          Here, while AFMS purportedly alleges the existence of an aftermarket, it does not appear
19   that any such aftermarket exists.127 Rather, AFMS alleges there is a foremarket for consulting
20   services designed to aid customers purchasing defendants’ primary offering – i.e., delivery
21   services. Even if the court attempts to apply the rule articulated in the aftermarket cases to such
22
23          126
               AFMS also cites Portney v. CIBA Vision Corp., 593 F.Supp.2d 1120 (C.D. Cal. 2008),
24   but that case does not address the type of single-brand submarket it alleges here. Rather, the case
     concerns an alleged “market or submarket” for multifocal contact lenses, which the defendant-
25   counterclaimant asserted were not reasonably interchangeable with monofocal contact lenses. Id.
     at 1127.
26
            127
27            Opp. at 22-23 (“[U]pon selecting a Defendant to negotiate with, a shipper is essentially
     locked in to the relevant submarket of consultation regarding that Defendant’s specific delivery
28   services”).
                                                    43
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 1   a disparate situation,128 it is clear that insufficient facts are alleged to support the submarkets
 2   pleaded. AFMS does not allege that customers ever decide which shipping company’s delivery
 3   services they will use before they consider the relative price and terms of the shipping contract
 4   being offered by that company. AFMS thus fails to allege that customers are ever “locked in” to
 5   using FedEx’s or UPS’s consultation services. Indeed, the complaint makes clear that customers
 6   engage in a comparative analysis of the price and terms offered by the shipping companies in
 7   assessing which company’s delivery services to use. AFMS acknowledges that it and other third
 8   party consultants provide comparative information to help customers assess which provider to
 9   choose. It alleges that consultants are “highly motivated to produce additional discounts and hence
10   savings for shippers.”129 One way of generating discounts is recommending that customers switch
11   carriers, depending on the “hard and soft issues” they face.130 The complaint alleges the content
12   of Morgan Stanley reports reflecting that in 2006, 14-15% of shippers switched carriers based on
13
14
15
            128
                Generally, in foremarket/aftermarket cases, the question is whether the defendant can
16
     “exert raw power in the aftermarket without regard for commercial consequences in the
17   foremarket.” If so, it is possible for the aftermarket to be the relevant market. See SMS Systems
     Maintenance Services, Inc. v. Digital Equipment Corp., 188 F.3d 11, 17 (1st Cir. 1999). If one
18   applies this rule in reverse, as is necessary here, the question is whether either defendant exerts
19   such raw power in the foremarket for consulting services related to its own delivery services that
     it need not fear commercial consequences in the aftermarket for those delivery services. There
20   is no allegation, nor does it appear there could be one, that either defendant can exert such power
     in the foremarket for consulting services that there would be no consequences in the aftermarket
21
     for its delivery services. Rather, it appears that the delivery services market is rather evenly split
22   between defendants; that, as discussed more fully infra, customers’ decisions regarding which
     shipping company to use are driven in large measure by price; and that customers freely switch
23   shippers to secure a more favorable contract. Thus, if anything, it appears that conduct in the
24   foremarket for consultation services could have a direct impact on a defendant’s performance in
     the aftermarket for delivery services.
25
            129
              Id., ¶ 12.
26
            130
27             Id.; see also id., ¶ 11 (“Consultants . . . gather and analyze data, including a shipper’s
     past transactions, to develop a strategy and advise a shipper on how to save money and match that
28   shipper’s specific needs to a carrier’s delivery services” (emphasis added)).
                                                      44
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 1   price, and that 8-9% of carriers did so the following year.131 This suggests that part of the value
 2   third party consultants add is providing comparative information regarding the prices charged by
 3   competing shipping companies like defendants. It also suggests that once customers obtain
 4   comparative price information, they more freely switch shipping companies. Because customers
 5   can freely move from one shipping company to another to have packages delivered, it does not
 6   appear that they are ever “locked in” to using one defendant’s consultation services or the other’s.
 7   Cf. In re ATM Fee Antitrust Litig., 768 F.Supp.2d 984, 997 (N.D. Cal. 2009) (“The prior single
 8   brand derivative aftermarket cases have focused on the provision of expensive, durable goods.
 9   Once a consumer buys such a good, like a photocopier, he is ‘locked in’ to purchasing compatible
10   parts and service for a considerable length of time, given the expense and difficulty of buying a
11   new photocopier. In those circumstances, market imperfections prevent customers from imposing
12   market discipline in the derivative market because of the difficulty of switching among competitors
13   in the primary market. . . . It is unclear to the Court that a holder of a bank account, on the other
14   hand, faces such hurdles in simply moving his business elsewhere. Plaintiffs’ ‘relevant market’
15   is a derivative aftermarket of the ‘primary market for deposit accounts.’ . . . Plaintiffs argue that
16   once customers open accounts with Star member banks, they become ‘locked-in’ to the Star
17   network. Thus, Plaintiffs contend they have no choice among ATM networks at the time of each
18   foreign ATM transaction. Where Plaintiffs fall short, however, is in their failure to plead a viable
19   theory suggesting that once a customer signs up for a bank account, he is ‘locked in’ to that bank’s
20   services. There are numerous banks that offer deposit accounts and ATM services, and customers
21   may presumably switch to a new bank if they are unhappy with the services offered by their
22   current institution. Because Plaintiffs have failed to allege that they are effectively limited to the
23   Star network as a result of their present banking relationships, they have failed to plead that they
24   are ‘locked in’ to the derivative aftermarket”).
25          Moreover, even assuming AFMS could allege that customers lock themselves into using
26   one shipping company’s services before considering price and terms, under Newcal Industries,
27
28          131
              Id., ¶ 13.
                                                        45
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 1   the level of knowledge with which they make that decision is critical. The complaint, however,
 2   pleads no facts concerning customers’ knowledge. Compare Newcal Industries, 513 F.3d at 1050
 3   (“Newcal offers factual allegations to rebut the economic presumption that [Ikon] consumers make
 4   a knowing choice to restrict their aftermarket options when they decide in the initial (competitive)
 5   market to enter an IKON contract”). The complaint does not allege that, after defendants ceased
 6   dealing with third party consultants, customers lacked knowledge that their decision to employ one
 7   defendant or the other to deliver their packages meant that they were binding themselves to use
 8   only UPS’s or FedEx’s consultation services. Compare Newcal Industries, 513 F.3d at 1050
 9   (“The fourth relevant aspect of the complaint is that it alleges that market imperfections, as well
10   as [Ikon’s] fraud and deceit, prevent consumers from realizing that their choice in the initial
11   market will impact their freedom to shop in the aftermarket”); In re Apple & AT & TM Antitrust
12   Litig., 596 F.Supp.2d at 1303-04 (“These allegations state a claim which is ripe for adjudication
13   because Plaintiffs are alleging that at the point of purchase and initiation of service, Defendants
14   involuntarily impose on consumers a contract exclusivity restriction which restricts their freedom
15   from that point forward for at least the next five years and conceivably for the life of the iPhone”).
16          Single-brand markets are rare, and the competitive circumstances alleged in the complaint
17   render their existence questionable here. See Apple, Inc. v. Psystar Corp., 586 F.Supp.2d 1190,
18   1198 (N.D. Cal. 2008) (“Single-brand markets are, at a minimum, extremely rare. ‘Even where
19   brand loyalty is intense, courts reject the argument that a single branded product constitutes a
20   relevant market,’” quoting Green Country Food Market, Inc. v. Bottling Group, 371 F.3d 1275,
21   1282 (10th Cir. 2004)).
22          AFMS’s failure to allege the existence of viable submarkets is a fatal defect in § 2
23   monopolization and attempted monopolization claims.132 Compare Portney, 593 F.Supp.2d at
24
            132
25             The court declines to address defendants’ contention that AFMS has failed to plead facts
     showing anticompetitive conduct in the relevant market. “A manufacturer of course generally has
26   a right to deal, or refuse to deal, with whomever it likes, as long as it does so independently.”
27   Monsanto Co. v. Spray-Rite Service Corp., 465 U.S. 752, 761 (1984) (citing United States v.
     Colgate & Co., 250 U.S. 300, 307 (1919); United States v. Parke, Davis & Co., 362 U.S. 29,
28   80 (1960)); see also Bushie v. Stenocord Corp., 460 F.2d 116, 119 (9th Cir. 1972) (“It is well
                                                    46
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 2
     settled that a manufacturer may discontinue dealing with a particular distributor ‘for business
 3   reasons which are sufficient to the manufacturer, and adverse effect on the business of the
     distributor is immaterial in the absence of any arrangement restraining trade,’” citing Ricchetti v.
 4   Meister Brau, Inc., 431 F.2d 1211, 1214 (9th Cir. 1970), cert. denied, 401 U.S. 939 (1971); Jos.
 5   E. Seagram & Sons, Inc. v. Hawaiian Oke & Liquors, Ltd., 416 F.2d 71, 76-77 (9th Cir. 1969),
     cert. denied, 396 U.S. 1062 (1970); Scanlan v. Anheuser-Busch, Inc., 388 F.2d 918, 921 (9th
 6   Cir. 1968), cert. denied, 391 U.S. 916 (1968)); accord Harkins Amusement Enters., Inc. v. Gen.
     Cinema Corp., 850 F.2d 477, 483 (9th Cir. 1988).
 7
             AFMS relies heavily on Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585
 8   (1985), for the proposition that “‘a decision by a monopolist to make an important change in the
     character of the market’ that detrimentally affects a competitor is sufficient to establish
 9   anticompetitive conduct.” (Opp. at 24 (quoting Aspen Skiing Co., 472 U.S. at 604).) The
10   Supreme Court has commented, however, that Aspen Skiing Co. “is at or near the outer boundary
     of § 2 liability.” Verizon Communications Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S.
11   398, 409 (2004) (noting that Aspen Skiing Co. had not only terminated “a voluntary (and thus
     presumably profitable) course of dealing,” which “suggested a willingness to forsake short-term
12
     profits to achieve an anticompetitive end,” but also that its refusal “to renew the [all-lift] ticket
13   even if compensated at retail price” reflected “a distinctly anticompetitive bent”). See also Aspen
     Skiing Co., 472 U.S. at 604 (“Ski Co.’s decision to terminate the all-Aspen ticket was thus a
14   decision by a monopolist to make an important change in the character of the market. Such a
15   decision is not necessarily anticompetitive [however]. . . . [The court must] draw[ ] a distinction
     ‘between practices which tend to exclude or restrict competition on the one hand, and the success
16   of a business which reflects only a superior product, a well-run business, or luck, on the other’”
     (citation omitted, emphasis added)). Here, the refusal to deal with third party consultants has a
17
     plausible economic motivation, given that a company may validly prefer to deal directly with
18   customers. Moreover, third party consultants were presumably impacting defendants’
     profitability, which may also provide a legitimate reason for the refusal to deal. See MetroNet
19   Services Corp. v. Qwest Corp., 383 F.3d 1124, 1132 (9th Cir. 2004) (“Qwest attempted to change
20   this prior course of dealing after it realized that the resale of Centrex by MetroNet and others was
     having a ‘significantly negative’ impact on its own profitability. Hence, Qwest was not forsaking
21   short-term profits by switching from system pricing to per location pricing, but rather was
     attempting to increase its short-term profits. Qwest’s termination of its prior course of dealing
22
     therefore ‘sheds no light’ upon whether Qwest was ‘prompted not by competitive zeal but by
23   anticompetitive malice,’” quoting Verizon Communications, 540 U.S. at 409)).
             Were this a simple refusal to deal case, AFMS’s heavy reliance on Aspen Skiing might be
24   insufficient to support AFMS’s claims. As noted, however, AFMS alleges that defendants have
25   threatened to withhold delivery services from customers who engage third party consultants even
     on a purely advisory basis. The parties do not address the effect of this allegation in their briefs,
26   treating the action primarily as a refusal to deal case. This conduct, however, may suggest “a
27   distinctly anticompetitive bent,” just as the refusal to renew the all-lift ticket at retail prices in
     Aspen Skiing Co., or the termination of advertisers’ contracts in Lorain Journal Co. v. United
28   States, 342 U.S. 143 (1951), did. See id., 342 U.S. at 148-49. (“To carry out appellants’ plan,
                                                         47
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 1   1127 (“And this is not the type of case where dismissal on the pleadings is appropriate, as such
 2   cases “frequently involve” either (1) failed attempts to limit product markets to a single brand,
 3   franchise, or institution, or (2) a failure even to attempt a plausible explanation as to why a market
 4   should be limited in a particular way,” quoting Todd v. Exxon Corp., 275 F.3d 191, 199-200 (2d
 5   Cir. 2001)). Defendants’ motion to dismiss the claim is therefore granted.
 6
 7                                          III. CONCLUSION
 8          For the reasons stated, the court grants defendants’ motion to dismiss AFMS’s claim under
 9   § 1 of the Sherman Act, and its § 2 monopolization and attempted monopolization claims. AFMS
10   may filed an amended complaint within twenty (20) days of the date of this order. Given that the
11   motion hearing cut-off date is approaching, the court will entertain a stipulation to amend the case
12   management dates. Any such stipulation should be filed no later than December 12, 2011.
13
14   DATED: November 23, 2011
                                                               MARGARET M. MORROW
15                                                          UNITED STATES DISTRICT JUDGE
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27   the publisher monitored WEOL programs to determine the identity of the station’s local Lorain
     advertisers. Those using the station’s facilities had their contracts with the publisher terminated
28   and were able to renew them only after ceasing to advertise through WEOL”).
                                                      48
